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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS


IN RE:                                      18-cv-4171
                                            MDL No. 2842
CHICAGO BOARD OPTIONS EXCHANGE
VOLATILITY INDEX MANIPULATION               Honorable Manish S. Shah
ANTITRUST LITIGATION
                                            [CORRECTED] CONSOLIDATED
This Document Relates to All Actions        AMENDED CLASS ACTION
                                            COMPLAINT

                                            JURY TRIAL DEMANDED
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       Plaintiffs Richard S. Aaron, Brian Barry, William Tad Berger, Spencer Roland Bueno,

Dale Cary, Victor Choa, FTC Capital GmbH, Amy Huang, LRI Invest S.A., John Pels,

Projection Capital Markets LLC, and David Samuel (collectively, “Plaintiffs”), individually and

on behalf of all others similarly situated, bring this class action based upon personal knowledge

of their own acts and upon information and belief as to all other matters alleged herein, including

from the investigation of Plaintiffs’ counsel, against Cboe Global Markets, Inc., Cboe Futures

Exchange, LLC, and the Chicago Board Options Exchange, Inc. (now known as Cboe Exchange,

Inc.) (together, “CBOE”), as well as against other unknown persons and entities (the “Doe

Defendants”).

                                 NATURE OF THE ACTION

       1.       This case involves CBOE’s knowingly flawed design for its VIX Volatility Index

(the “VIX”) and the suite of products it created based upon the VIX (“VIX Options” and “VIX

Futures”). This case also involves the Doe Defendants’ exploitation of this flawed design, with

CBOE’s knowledge, to manipulate the VIX and its related products for their illicit gain and to

Plaintiffs’ detriment.

       2.       The VIX, which purports to measure the expected volatility of the S&P 500, is

widely known as the U.S. stock market’s “fear gauge.” Since its inception until the early 2000’s,

the VIX was just a published figure that could not be traded.

       3.       But things began to change after CBOE decided that it should become a for-profit

enterprise. CBOE’s decision coincided with new regulations that required brokers to direct their

orders to venues that displayed the best prices. Faced with a threat of declining CBOE fee

revenues for products available across multiple trading venues, CBOE needed to drive trading in

products exclusive to CBOE. It needed a new product that could drive its profitability. That




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exclusive product turned out to be a suite of tradeable VIX products, built on CBOE’s exclusive

license with respect to the S&P 500 index (“SPX”).

       4.      CBOE’s exclusive license agreement, however, was not enough to ensure the

success of any product CBOE developed out of that license. The lifeblood of any financial

product—particularly new ones—is liquidity. Generally, investors are much more likely to trade

a product when many other investors are also trading it. When there is insufficient liquidity,

there is a far greater risk to traders and investors of not being able to exit a position on what is

perceived to be fair terms. Investors either to pay more when buying and accept less when

selling, or wait longer to trade. The corollary is that success begets success; once a critical mass

of liquidity is reached, more people are willing to trade in that product.

       5.      CBOE knew that one way to supercharge interest in VIX products was to

structure the VIX “Special Opening Quotation” (“SOQ”) settlement process such that liquidity

providers could easily enter into other transactions to hedge or arbitrage their exposure to VIX

products, i.e., to make the VIX “replicable.” CBOE took this concept of “replicability” to an

extreme. It did so by, among other things, basing the VIX settlement price on a large series of

tradeable SPX Options, refusing to base it on a measurement taken over an extended period of

time, and giving outsized weight to cheap, far out-of-the-money transactions. This afforded

CBOE the market participation (and trading fee profits) it desired for its VIX products. But it

also made the settlement process much easier to manipulate because traders could exploit the

replicability by trading the same defined set of cheap and thinly-traded SPX Options to move the

VIX to artificial levels. As shown below, that is exactly what certain traders did.

       6.      Ultimately, the VIX suite of products were not merely successful; they became

the main driver of CBOE’s profits. In fact, VIX Options are the most successful new product in




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CBOE history. Between 2007 and 2017, CBOE saw a 3,000% increase in daily VIX Options

transactions and over a 15,000% increase in VIX Futures. CBOE’s annual report makes clear its

88% rise in “transaction fees” has occurred “primarily” because of volume increases in

“proprietary” VIX-related trading. CBOE has repeatedly touted its lineup of SPX and VIX

products as its “highest margin products.”

       7.      As the designer of the SOQ, CBOE knew the methodology would invite

manipulation. But it proceeded anyway in order to secure and then keep the business of the

crucial liquidity providers, and to increase trading in (and fees arising from) its proprietary

products. As the administrator of the VIX franchise, with unlimited and near-exclusive access

to the underlying trading and settlement data, CBOE was able to see that the flawed SOQ

process was, in fact, routinely exploited. CBOE knew exactly what levers the Doe Defendants

were pulling and what buttons they were pushing as VIX Options and VIX Futures settlement

values were being determined. Multiple sources and analyses confirm this to be the case. But

still, CBOE stuck to the flawed system, fearful that changing paths would alienate the very

liquidity providers it had enticed into the marketplace. This invited and allowed the Doe

Defendants to continue to engage in widespread manipulation of the SOQ process.

       8.      An academic study in 2017, and a “whistleblower” letter to U.S. regulators in

2018, alleged that multiple suspicious choices CBOE made meant that the VIX and the SOQ

process were uniquely vulnerable to manipulation. On February 14, 2018, former Commodities

Futures Trading Commission (“CFTC”) Commissioner Bart Chilton joined the growing chorus,

opining that the allegation that the VIX was manipulated “rings true to me.” He added

that “there’s certainly enough smoke.” On February 16, 2018, former Securities Exchange

Commission (“SEC”) Chairman Harvey Pitt echoed these comments, stating “it’s quite clear that




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[the VIX] indexes’ options can be manipulated. . . . the Cboe, as the marketplace, should have

sprung in to action.” Multiple regulators, including the CFTC, the SEC, and the Financial

Industry Regulatory Authority (“FINRA”) are now reported to be investigating the manipulation

of VIX-related products.

       9.      Similarly, while CBOE claims that the SOQ settlement process was driven by free

market forces, Plaintiffs have conducted extensive economic analyses that demonstrate that the

process was regularly manipulated. Specifically, these analyses show, among other things:

(1) the ratio of SPX put options to SPX call options was higher on settlement days than other

days, which is relevant as puts have a greater ability to influence the settlement price; (2)

trading volume was higher on settlement days, particularly for the deep out-of-the-money SPX

Options that carried more weight in the settlement formula; (3) certain traders were

placing bids precisely to fill gaps that would otherwise exclude certain option series from the

VIX calculation, but only during the settlement window; and (4) the VIX moved differently on

settlement days than on other days.

       10.     Belying any notion these phenomena are explainable by natural market forces, the

data also show that (5) pricing and quoting behavior changed in February 2018 when it was

reported that FINRA was investigating manipulation of the VIX.

       11.     Primarily with respect to its other products, CBOE has occasionally and belatedly

slapped the wrist of mostly minor players. Such actions were based on CBOE’s review of the

data only it had complete and unfettered access to. The data showed traders had engaged in

various manipulative trading practices in the form of “strategy orders” and “safety bids.” This

confirms that CBOE was able to find, and in fact had actual knowledge of, more widespread

problems in the VIX products, because (6) Plaintiffs’ analyses also demonstrate that the VIX




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settlement process was routinely subject to these same trading practices in a way that CBOE

itself has expressly acknowledged demonstrates manipulation.

       12.     In the end, for VIX Options and VIX Futures alone, the fraudulent manipulations

distorted settlement values to the tune of billions of dollars.

       13.     By creating, marketing, and maintaining proprietary products that were known to

be flawed and that advantaged certain customers over others, CBOE was acting in its role as a

profit-seeking enterprise. CBOE is thus liable under the Securities Exchange Act of 1934

(“Exchange Act”) for employing a device, scheme, or artifice to defraud Class members.

       14.     CBOE is also liable under the Commodity Exchange Act (“CEA”), which

requires CBOE to enforce rules preventing price manipulation on its exchanges. CBOE failed to

enforce its own rules when it deliberately designed, made public, and promoted a process that

was vulnerable to manipulation; provided certain favored insiders with specialized tools that

made such manipulation easier; and then knowingly allowed investors to be cheated by such

manipulation on a weekly basis. Under the CEA, the relevant decision-maker or employer is

held responsible for this misconduct, and liability is imputed across corporate entities and up

chains of command.

       15.     The Doe Defendants took advantage of the flawed design created and

implemented by CBOE and engaged in the misconduct described below in order to manipulate

prices. The Doe Defendants are therefore liable under numerous provisions of the Exchange

Act, the CEA, and the Sherman Act.

                                             PARTIES

       A.      Plaintiffs

       16.     Plaintiff Richard S. Aaron is an individual residing in London, England. During

the Class Period, Mr. Aaron transacted in VIX Options on the CBOE Options Exchange


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(“COE”). These instruments were manipulated by Defendants’ conduct, and Mr. Aaron’s

transactions were adversely impacted by this manipulation. As a direct and proximate result of

the wrongdoing alleged herein, Mr. Aaron was harmed as described in Section V below and

suffered economic injury as a result.

        17.    Plaintiff Brian Barry is an individual who resides in Bali, Indonesia. During the

Class Period, Mr. Barry transacted in VIX ETPs. These instruments were manipulated by

Defendants’ conduct, and Mr. Barry’s transactions were adversely impacted by this

manipulation. As a direct and proximate result of the wrongdoing alleged herein, Mr. Barry was

harmed as described in Section V below and suffered economic injury as a result.

        18.    Plaintiff William Tad Berger is an individual who resides in Bedford, New

Hampshire. During the Class Period, Mr. Berger transacted in VIX ETPs. These instruments

were manipulated by Defendants’ conduct, and Mr. Berger’s transactions were adversely

impacted by this manipulation. As a direct and proximate result of the wrongdoing alleged

herein, Mr. Berger was harmed as described in Section V below and suffered economic injury as

a result.

        19.    Plaintiff Spencer Roland Bueno is an individual who resides in La Jolla,

California. During the Class Period, Mr. Bueno transacted in SPX Options and VIX Options on

the COE, and in VIX ETPs. These instruments were manipulated by Defendants’ conduct, and

Mr. Bueno’s transactions were adversely impacted by this manipulation. As a direct and

proximate result of the wrongdoing alleged herein, Mr. Bueno was harmed as described in

Section V below and suffered economic injury as a result. The Court has appointed Mr. Bueno

as Lead Plaintiff on the Exchange Act claims.




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       20.    Plaintiff Dale Cary is an individual who resides in Edmonds, Washington. During

the Class Period, Mr. Cary transacted in VIX Options on the COE. These instruments were

manipulated by Defendants’ conduct, and Mr. Cary’s transactions were adversely impacted by

this manipulation. As a direct and proximate result of the wrongdoing alleged herein, Mr. Cary

was harmed as described in Section V below and suffered economic injury as a result.

       21.    Plaintiff Victor Choa is an individual who resides in Jericho, New York. During

the Class Period, Mr. Choa transacted in SPX Options and VIX Options on the COE, VIX

Futures on the CBOE Futures Exchange (“CFE”), and in VIX ETPs. These instruments were

manipulated by Defendants’ conduct, and Mr. Choa’s transactions were adversely impacted by

this manipulation. As a direct and proximate result of the wrongdoing alleged herein, Mr. Choa

was harmed as described in Section V below and suffered economic injury as a result.

       22.    Plaintiff FTC Capital GmbH (“FTC Capital”) is an asset management company

based in Vienna, Austria. During the Class Period, FTC Capital’s sub-funds, along with FTC

Futures Fund Classic, a sub-fund of FTC Futures Fund SICAV, based in Luxembourg, transacted

in VIX Futures on the CFE.1 These instruments were manipulated by Defendants’ conduct, and

FTC Capital’s transactions were adversely impacted by this manipulation. As a direct and

proximate result of the wrongdoing alleged herein, FTC Capital was harmed as described in

Section V below and suffered economic injury as a result.

       23.    Plaintiff Amy Huang is an individual who resides in Brooklyn, New York.

During the Class Period, Ms. Huang transacted in VIX Options on the COE and in VIX ETPs.

These instruments were manipulated by Defendants’ conduct, and Ms. Huang’s transactions



       1
          Prior to filing its original complaint in this Action, FTC Futures Fund SICAV assigned
the claims of FTC Futures Fund Classic to FTC Capital.



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were adversely impacted by this manipulation. As a direct and proximate result of the

wrongdoing alleged herein, Ms. Huang was harmed as described in Section V below and

suffered economic injury as a result.

       24.     Plaintiff LRI Invest S.A. (“LRI Invest”) is a fund administrator based in

Luxembourg. During the Class Period, LRI Invest’s funds transacted in VIX Options on the

COE and in VIX Futures on the CFE. These instruments were manipulated by Defendants’

conduct, and LRI Invest’s transactions were adversely impacted by this manipulation. As a

direct and proximate result of the wrongdoing alleged herein, LRI Invest was harmed as

described in Section V below and suffered economic injury as a result.

       25.     Plaintiff John Pels is an individual who resides in Windsor, California. During

the Class Period, Mr. Pels transacted in VIX Options on the COE and in VIX Futures on the

CFE. These instruments were manipulated by Defendants’ conduct, and Mr. Pel’s transactions

were adversely impacted by this manipulation. As a direct and proximate result of the

wrongdoing alleged herein, Mr. Pels was harmed as described in Section V below and suffered

economic injury as a result.

       26.     Plaintiff Projection Capital Markets LLC is a limited liability company with its

headquarters in Brooklyn, New York. During the Class Period, Projection Capital Markets

transacted in VIX ETPs. These instruments were manipulated by Defendants’ conduct, and

Projection Capital Markets’ transactions were adversely impacted by this manipulation. As a

direct and proximate result of the wrongdoing alleged herein, Projection Capital Markets was

harmed as described in Section V below and suffered economic injury as a result.

       27.     Plaintiff David Samuel is an individual who resides in Auckland, New Zealand.

During the Class Period, Mr. Samuel transacted in VIX ETPs. These instruments were




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manipulated by Defendants’ conduct, and Mr. Samuel’s transactions were adversely impacted by

this manipulation. As a direct and proximate result of the wrongdoing alleged herein, Mr.

Samuel was harmed as described in Section V below and suffered economic injury as a result.

       B.      Defendants

       28.     Defendant Cboe Global Markets, Inc. (formerly known as CBOE Holdings, Inc.)

is a corporation organized under the laws of Delaware with its principal place of business in

Chicago, Illinois. Cboe Global Markets, Inc. maintains offices around the globe. CBOE Global

Markets, Inc. is the publicly traded holding company of, among other entities, CBOE Futures

Exchange, LLC (which is responsible for operating the CFE) and the Chicago Board Options

Exchange, Inc. (which is responsible for operating the COE).

       29.     Defendant Cboe Futures Exchange, LLC is a corporation organized under the

laws of Delaware with its principal place of business in Chicago, Illinois.

       30.     Chicago Board Options Exchange, Inc. (now known as Cboe Exchange, Inc.) is a

corporation organized under the laws of Delaware with its principal place of business in

Chicago, Illinois.

       31.     Defendants Cboe Global Markets, Inc., Cboe Futures Exchange, LLC, Chicago

Board Options Exchange, Inc., and their subsidiaries, officers, and directors are referenced

collectively in this Complaint as “CBOE” unless otherwise noted.

       32.     Doe Defendants are persons and entities that directly or indirectly manipulated or

attempted to manipulate the settlement prices of VIX Options and VIX Futures, and the prices of

VIX ETPs, including through trading SPX Options during the settlement window for VIX

Options and VIX Futures. Trading of VIX Options and SPX Options on the COE, and of VIX

Futures on the CFE, is anonymous. Plaintiffs intend to seek leave to amend their complaint upon

learning the identity of the Doe Defendants.


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                                  JURISDICTION AND VENUE

        33.     This Court has subject matter jurisdiction over this action pursuant to Section 22

of the CEA (7 U.S.C. § 25) and Section 10(b) of the Exchange Act (15 U.S.C. § 78aa). The

Court also has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1337(a) to recover damages for

violation of Sections 1 and 2 of the Sherman Act (15 U.S.C. § 2).

        34.     This is also a class action arising under the Class Action Fairness Act of 2005 (28

U.S.C. §§ 1332(d), 1453, 1711-1715), which explicitly provides for the original jurisdiction of

the Federal Courts over any class action in which any member of the plaintiff class is a citizen of

a state different from any defendant, and in which the matter in controversy exceeds in the

aggregate of $5,000,000, exclusive of interest and costs. The total claims of the individual

members of the Class here are in excess of $5,000,000 in the aggregate, exclusive of interest and

costs, as required by 28 U.S.C. § 1332(d)(2)(A).

        35.     Venue is proper in this District pursuant to Section 22 of the CEA (7 U.S.C. § 25)

and Section 10(b) of the Exchange Act (15 U.S.C. § 78aa), and pursuant to Sections 4(a) and 12

of the Clayton Act (15 U.S.C. §§ 15(a), 22; 28 U.S.C. § 1391(b), (c), & (d)). A substantial part

of Defendants’ acts or omissions occurred in this District, for which Defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not

limited to, the facilities of the national securities markets. All the products at issue in this case

represent billions of dollars in interstate commerce each year in the United States.

        36.     This Court has personal jurisdiction over each Defendant, because: each

Defendant was found or resided in this District, had agents in this District, or transacted business

throughout the United States, including this District; a substantial part of the events giving rise to

Plaintiffs’ claims arose in this District; and a substantial portion of the affected interstate trade

and commerce described herein has been carried out in this District.


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                                  FACTUAL BACKGROUND

          A.    Futures and Options Contracts

          37.   An option contract is an agreement that gives the buyer the right—but not the

obligation—either to buy (in the case of a “call option”) or to sell (in the case of a “put option”) a

particular commodity or financial instrument, at a predetermined price, at or during a specified

time period in the future (the “expiry date”). The agreed price is generally known as the “strike

price.”

          38.   A physically settled option requires physical delivery of the underlying financial

instrument. For example, many stock options are physically settled, meaning settlement requires

actual delivery of the stock to the holder if she exercises the option. A cash-settled option, in

contrast, results in a cash payment to the holder of the option based on prevailing market values

for the underlying product or instrument at the time of settlement, rather than delivery of the

product or instrument.

          39.   The main driver of whether a cash-settled option is exercised is whether it is “in

the money” or “out of the money.” An in-the-money option is one where the holder is entitled to

a cash payment if she exercises the option. For example, if an option holder has the right to buy

a widget at a price of $300 (a call), and the market price for the widget is currently $500, the call

option is in the money—because the option holder could make a $200 profit by buying a widget

for $300 and immediately selling it for $500.

          40.   An out-of-the-money put or call is one where the option holder is not entitled to a

cash payment if she exercises the option. For example, if an option holder has the right to sell a

widget at a price of $300 (a put), and the market price for the widget is currently $500, the option

is out of the money—because the opportunity to sell at $300 is worthless when the option holder

could sell at $500 on the open market.


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       41.     Whether a put or call option ultimately is in or out of the money depends on the

relevant prevailing market price at the time of the settlement of the option—the at-the-money

price. In the case of a widget, the at-the-money price is the prevailing market price of a widget.

An option can be in or out of the money at one point in time and just the opposite at the time of

settlement.

       42.     Futures contracts involve a promise—generally made through a futures

exchange—to buy or sell a particular commodity or financial instrument, at a predetermined

price, on a fixed date in the future (i.e., again, on an “expiry date”). Futures can also be cash-

settled, instead of requiring physical delivery of the underlying commodity or instrument on the

expiry date.

       43.     Because there is no “SPX” or “VIX” to be physically delivered, SPX Options,

VIX Options, and VIX Futures are always cash-settled.

       B.      The SPX and SPX Options

       44.     The S&P 500 index is a capitalization-weighted index of 500 U.S. stocks from a

broad range of industries. The impact of a component’s price change is proportional to the

issue’s total market value, which is the share price multiplied by the number of shares

outstanding.

       45.     The S&P 500 is widely regarded as the leading benchmark of the overall U.S.

stock market, and CBOE is the exclusive provider of options on the SPX (“SPX Options”).

CBOE provides a range of SPX Options, including SPX Options with A.M. settlement, with

P.M. settlement, weekly options, end-of-month options, and Mini SPX options.

       46.     SPX Options are available for trading solely on CBOE’s COE exchange. Indeed,

CBOE markets SPX Options as its “flagship contract” and as “the index option of choice for




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institutional investors trading large and complex [S&P 500 options] orders.”2 As CBOE has

acknowledged in its public filings with the SEC throughout the Class Period, “[t]he options we

offer on the S&P 500 Index are exclusive to CBOE and contribute substantially to our volumes

and transaction fees.”3

       47.     Like any other option, SPX Options can be either call or put options. They also

can be in or out of the money at any given point in time, depending on the market’s current

expectation of the S&P 500 Index’s value in the future. For example, the at-the-money price for

an SPX Option that expires in 30 days reflects the market expectation of the level of the S&P

500 in 30 days’ time.

       48.      There is a spectrum of in-the-money/out-of-the-money SPX put and call options,

shown below for a hypothetical at-the-money price of $1,000. SPX Option puts that have lower

strike prices are more out of the money because the market is less likely to decline to those lower

strike prices. Similarly, SPX Option calls that have higher strike prices are more out of the

money because the market is less likely to rise to those higher strike prices. This can be seen in

the following diagram:




       2
          CBOE, S&P 500 Index, http://www.cboe.com/products/stock-index-options-spx-rut-
msci-ftse/s-p-500-index-options/s-p-500-index.
       3
          CBOE, Annual Report 2016, at 12, https://www.cboe.com/framed/
pdfframed?content=/aboutcboe/annualreportarchive/annual-report-2016.pdf&section
=SEC_ABOUT_CBOE&title=CBOE+Annual+Report+2016.



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                                      At-The-Money Strike Price
                                     For SPX Option Puts and Calls




        C.        The VIX

        49.       The VIX is a popular index used to measure the stock market’s expectation of

volatility and is colloquially referred to as the “fear index” or the “fear gauge.” “[W]idely

reported by financial media” and “closely followed by a variety of market participants as a daily

market indicator,”4 the VIX is higher when the market is expected to be more volatile 30 days in

the future and is lower when the market is expected to be less volatile 30 days in the future.

        50.       The VIX is determined by reference to the prices of SPX Options (the cost of

purchasing the options at particular strike prices). This is supposedly because the prevailing

quotation levels of SPX Options serve as an indicator of the market’s expectations of future

stock price volatility. For example, an option to buy or sell the SPX at a given level will be

worth more when the market expectation is that stock prices will be volatile, and more likely to

move significantly above or below that level. By contrast, it will be worth less when the market

expectation is that stock prices will be calm, and less likely to move significantly above or below

that level.




        4
              CBOE, VIX, http://www.cboe.com/vix/.



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       51.     CBOE explains the relation between SPX Options and the VIX on its website:5

       The VIX Index is an up-to-the-minute market estimate of implied (expected)
       volatility that is calculated by using the midpoint of real-time S&P 500® Index
       (SPX) option bid/ask quotes. More specifically, the VIX Index is intended to
       provide an instantaneous measure of how much the market thinks the S&P 500
       Index will fluctuate in the 30 days from the time of each tick of the VIX Index.

       Cboe Options Exchange® (Cboe®) calculates the VIX Index using standard SPX
       options and weekly SPX options that are listed for trading on Cboe. Standard
       SPX options expire on the third Friday of each month and weekly SPX options
       expire on all other Fridays. Only SPX options with Friday expirations are used to
       calculate the VIX Index. Only SPX options with more than 23 days and less than
       37 days to the Friday SPX expiration are used to calculate the VIX Index. These
       SPX options are then weighted to yield a constant, 30-day measure of the
       expected volatility of the S&P 500 Index.

       52.     The VIX calculation process is summarized in the following diagram:




       53.     The VIX calculation occurs approximately every 15 seconds throughout the

trading day and is based upon bid and ask premiums at various strike prices for a number of

different SPX Options. To determine which SPX put and call options should be used to calculate

the VIX, the calculation process starts from the strike price that is closest to the prevailing at-the-

money value and proceeds in both out of the money directions until two zero-bid strike prices are

       5
          CBOE, VIX FAQs, http://www.cboe.com/products/vix-index-volatility/vix-options-
and-futures/vix-index/vix-faqs#1.



                                                  15
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reached. The “two-zero bid rule” requires that the basket of SPX put and call options used to

determine the value of the VIX must be drawn from puts and calls that are not “zero-bid” two or

more times in a row.

       54.     The following table offers a hypothetical illustration of whether the strike for a

series of calls or puts on SPX Options would be included in the VIX calculation upon application

of the two-zero bid rule:

                             Application of the Two-Zero Bid Rule




       55.     As this table demonstrates, whether a given strike price or series of strike prices

and the attendant bid and ask premium are included in the calculation for the VIX process is

dependent on whether participants have chosen to bid on puts or calls at those strike prices.

       D.      VIX Options, VIX Futures, VIX ETPs, and the SOQ Settlement Process

       56.     Initially the VIX was just a benchmark figure. Investors could not “take a

position” in the VIX or on the direction they thought it would go. But CBOE was eager to

increase its profits by inviting investors to take positions based on their views of volatility and

their attendant expectations regarding movements in the VIX. CBOE did so by creating VIX

Futures in 2004 and then VIX Options in 2006. The products—exclusive to CBOE—thereafter




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allowed traders and investors to speculate on the extent the stock market, as reflected by the S&P

500, would be more or less volatile in the future.

       57.     VIX Options can only be exercised at expiration, which occurs every Wednesday

since mid-2015 (monthly previously), and all are cash-settled. VIX Futures are also cash-settled

at expiry. The cash-settlement value at expiry is determined through the same CBOE-

administered SOQ process for both VIX Options and VIX Futures. The SOQ process is similar,

but not identical, to the process used to calculate the VIX itself.6

       58.     The SOQ settlement process is conducted by CBOE using a proprietary auction

mechanism called the “Hybrid Opening System” (or “HOSS”). The HOSS finds a single

clearing price that maximizes the number of contracts that can be traded within the SOQ price

range. The following table demonstrates the HOSS auction mechanism within the SOQ process:




       6
           In addition to those discussed below, other differences between the intraday VIX
calculation and the settlement calculation include that: (1) the VIX is calculated and published
every 15 seconds throughout the trading day, whereas the VIX settlement price is calculated on
the day that VIX Options and VIX Futures expire; (2) settlement calculations include only SPX
Options that expire in exactly 30 days, whereas the intraday VIX computations include SPX
Options that expire in the range of 23 to 37 days; and (3) the intraday VIX is derived from the
midpoint of bid and ask premiums of SPX Options, whereas the settlement calculations use
actual traded prices where possible.



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       59.     With respect to SPX Options, a large amount of control over the bidding and

trading process is vested in “Lead Market Makers” appointed by CBOE. Under CBOE Rule

8.15(b)(1), a Lead Market Maker must “provide continuous electronic quotes (as defined in Rule

1.1 (ccc)) in at least the lesser of 99% of the non-adjusted option series or 100% of the non-

adjusted option series minus one call-put pair.”

       60.     In 2008, for the first time, CBOE designated dual Lead Market Makers for SPX

Options. In October of 2012, it expanded the Lead Market Maker structure for SPX Options so

that more than two but no more than four Lead Market Makers could be designated. In 2014,

CBOE introduced extended trading hours for both SPX Options and VIX Options. In that year

and subsequent years, it designated three Lead Market Makers for each.

       61.     Lead Market Makers (and all other classes of market maker) are eligible to

participate in the SOQ. However, as per CBOE rule 8.15(b)(v), Lead Market Makers are obliged

to “enter opening quotes within one minute of the initiation of an opening rotation in any series

that is not open due to the lack of a quote.” In other words, if no one else participating in the

SOQ offers a quote, Lead Market Makers are obligated to do so. Certain market makers are

given steep discounts for quoting out-of-the-money SPX Options. This is a feature not seen in

other, comparable options contracts.

       62.     CBOE keeps confidential the identity of the participants in the SOQ process.

However, according to CBOE Rule 8.13, Lead Market Makers are required to enter opening

quotes for SPX Options. According to CBOE Rule 8.85, “Designated Primary Market Makers”

are required to enter opening quotes for SPXW options (i.e., weekly SPX Options).

       63.     Both the orders and quotes of Lead Market Makers and Designated Primary

Market Makers are eligible to participate in the SOQ. By contrast, all other market participants




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participate in the opening only through orders (which are binding offers to either buy or sell),

and not through quotes (which can simultaneously indicate a willingness to buy or sell at

different prices).

        64.     Where there is no opening trade for SPX Options during the settlement window

on a settlement date for VIX Options and VIX Futures—and thus no price to incorporate into the

SOQ and HOSS processes—the opening price is the average of an SPX Option’s bid and ask

price determined at the open at 8:30 a.m. At that time, CBOE executes SPX Options orders at

market-clearing prices and removes all remaining unexecuted orders. The auction clearing

prices for SPX Options expiring in exactly 30 days are then used as part of the calculations to

settle VIX Options and VIX Futures expiring that calculation day.

        65.     Shortly after VIX Options were created, a new set of products arose. These

allowed investors to purchase shares (in the case of exchange-traded funds, or “ETFs”) or notes

(in the case of exchange-traded notes, or “ETNs”), the value of which are directly linked to the

value of the VIX or related products, such as VIX Futures. ETFs and ETNs—collectively

referred to herein as electronically traded products, or “ETPs”—trade on a national securities

exchange like a security.

                                  FACTUAL ALLEGATIONS

I.      CBOE KNOWINGLY DESIGNED A FLAWED PRODUCT TO ENSURE THE
        CONTINUED SUPPORT OF A PRIVILEGED CLASS OF CLIENTELE

        A.      To Attract and Keep Liquidity Providers, CBOE Made Its VIX Products
                Extremely “Replicable,” Which Also Made Them Uniquely Susceptible to
                Manipulation

        66.     “Replication” is the ability to accumulate a portfolio of the components of an

index in the same proportion that each component is represented in the index. The returns from

such a portfolio should mimic those of the index, and the values of the two should converge at



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final settlement. The ability to replicate is important, particularly for liquidity providers, because

it allows for market participants to offset directional risk.7 If a potential liquidity provider feels

constrained in its ability to act as a counterparty because of a perceived inability to hedge its

directional risk through replication, it would be less willing to serve in that capacity. The market

would be less liquid, and retail or other volatility market investors would be less inclined to trade

in VIX products because they would be less able to enter or exit positions when they wanted to

(or at least less able to do so at the prices they wanted).

        67.     Prior to 2003, only four SPX Options series were used to calculate the published

VIX figure. The following table depicts the SPX Options series that were used to calculate the

VIX prior to 2003. There were a large number of options available in the market—below, puts

in blue, calls in orange, with the placeholder “….” standing in for a large number of series

between the at-the-money price and the last one available. But only the four series shaded in

green were actually used in the VIX calculation.




        7
           An example would be an arbitrageur who trades (e.g., sells) the S&P 500 index futures
against (e.g., buys) the basket of stocks which make up the S&P 500 index. That trader’s goal is
to make money by providing liquidity to other market participants and to offset the risk assumed
in doing so in the opposing market. Once the trader has executed its arbitrage, it does not care if
the market goes up or down, because losses from the futures transaction would be offset by gains
from the basket of underlying stocks, or vice-versa.



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       68.     Because they were so few in number, and at- or very close to being at-the-money,

the four options series used as part of the older VIX calculation were the most liquid and costly

options listed. This made it more expensive for a hypothetical liquidity provider8 to replicate the

VIX. The older VIX formula also presented another challenge to replication. Even though the

formula was based on just four series, the at-the-money VIX price changed constantly as the

equities market moved. As a result, it was not possible to tell which four options would be right-

at-the-money at any given time. If the original VIX formula were used for settlement of VIX

products, liquidity providers would have found it very expensive, if not impossible, to reliably

“replicate” their VIX risk by trading in SPX Options.

       69.     As part of its efforts to monetize and then maintain the profitability of its VIX

franchise, CBOE went to the opposite extreme. In 2003, it changed the VIX formula completely,

and then used the new formula in the SOQ settlement process. It then refused to modify either

calculation in any relevant way during the Class Period.

       70.     Specifically, CBOE greatly expanded the number of SPX Options series that

factored into the VIX, and then used that same expanded set of inputs for the SOQ. The revised

process took into account up to one hundred and thirty SPX Options series. After 2003, a chart

similar to the above would look like this, again with the series shaded in green representing the

series considered in the settlement calculation and the placeholder “….” standing in for a large

number of options series:




       8
           “Hypothetical” in that, before the implementation of VIX Futures and the change in
the formula that came with them, there was nobody trading in “the VIX” and thus no need to
replicate it.



                                                21
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       71.     CBOE made this change after consulting key market participants and being told

that it needed to make the VIX “replicable.” It was crucial for CBOE to attract and maintain

sufficient market support for its VIX franchise, including particularly from large liquidity

providers. By basing the SOQ process on a maximum of 130 SPX Options series, CBOE greatly

increased the ability of liquidity providers to replicate the settlement value. This is because

liquidity providers could replicate their risk with relative certainty, without knowing in advance

what the exact at-the-money price would be at the moment of settlement. The relevance of the

few options that happened to end up right at the money was now drowned out by the outsized

impact from options liquidity providers knew would end up far in or out of the money.

       72.     CBOE’s decision to prioritize replicability (and consequently, increased

profitability) over preventing manipulation, is further shown by its other choices, each of which

increased the risk of manipulation. CBOE designed the SOQ process such that (1) it did not

conduct any averaging of the prices of the relevant trades (meaning the effects of any deliberate

trading distortions were not smoothed out), (2) it occurred during a short time window (meaning

a manipulator only had to trade in a way that moved prices for a short period of time), and (3) it

gave particular weight to the cheapest kinds of trades (meaning a manipulator’s most effective

trading tool was also one of the cheapest).


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       73.     To demonstrate how these changes impacted the ability to manipulate the VIX,

Plaintiffs’ economists twice measured the “deviation” of the monthly VIX settlement process.

The deviation, which is calculated as the difference between the settlement price of VIX and the

opening price of VIX just seconds later, is a measure of the artificiality of the VIX settlement.

First, that measurement was calculated based on real-world trading data, from the real-world

SOQ process. Then, it was calculated based on the same data, but using only the four original

SPX Options series, not the hugely expanded SPX Options series from 2003 when CBOE

decided to make the VIX much more replicable. This study found that the revised process

created magnitudes of deviation almost two hundred and fifty percent higher than they would

have been if the process had not been changed. This result is not just statistically significant, but

remarkably so.9

       74.     A member of the CBOE team who designed the current VIX process has admitted

that the decision to make the VIX “replicable”—i.e., to base it on the actual prices of underlying

instruments that were tradable—was a flaw that exposed it to manipulation. In 2017, Timothy

Klassen, one of the members of the Goldman Sachs team who assisted CBOE with the re-design

of the VIX in 2003, gave a media interview. He there stated that: “trying to manipulate the VIX

is not conceptually different from trying to manipulate any other index product that is dependent

on underlying financial contracts or securities.” He also said that the process CBOE adopted

“almost certainly could [have] be[en] relatively easily improved.”10 But CBOE did not adopt

any such “easy” improvements, because fixing the design flaw would reduce replicability and



       9
         A two-tailed T-Test of these results produces a P-value of 2.0 times 10-7.
       10
          Elliot Blair Smith, How S&P 500 Options May Be Used To Manipulate VIX ‘Fear
Gauge’, MarketWatch (June 19, 2017), https://www.marketwatch.com/story/how-sp-500-
options-may-be-used-to-manipulate-vix-fear-gauge-2017-06-19.



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thus curtail CBOE profits and prevent the VIX franchise from taking off. Later, CBOE also

feared that any alterations would similarly cause the products or market confidence in the

product and the SOQ process to collapse. See Section III.E below.

       75.     Throughout the Class Period, CBOE catered to the liquidity providers,

maintaining an extremely replicable system. And it did so despite knowing that such levels of

replicability meant the SOQ settlement process and VIX products were put at an extreme risk of

manipulation, and despite knowing that risk was in fact being routinely realized through the Doe

Defendants’ manipulative acts.11 CBOE maintained this flawed system because the support of

sophisticated liquidity providers was crucial to the success of the VIX franchise. CBOE was

particularly incentivized to over-cater to the liquidity providers as it was attempting to get the

VIX franchise off the ground. When a market is immature, it is not liquid and arbitrageurs have

an even stronger need to be able to offset risk other than by trading in the same product.

       B.      Elevating Replicability, and Other CBOE Design Choices, Left the SOQ
               Process Vulnerable to Manipulation by “Banging the Close”

       76.     As discussed above, the VIX settlement process is dependent on the value of

thinly traded, illiquid financial SPX Options. These SPX Options trade in far lower volumes

than VIX Options and VIX Futures.12

       77.     This made it easier for the Doe Defendants to move prices in the direction they

wanted, because trading even a small number of out-of-the-money SPX Options could result in

       11
            CBOE’s willingness to cater to a certain type of clientele is confirmed by other
advantages it gave to try to ensure their support for its VIX franchise. For example, CBOE
routinely paid market makers $125,000 per month to be liquidity providers, and was willing to
offer them discounts on their trading fees.
        12
            Indeed, the paper by Prof. Griffin and Mr. Shams, discussed more below, found that
“the size of VIX futures with open interest at settlement is on average 5.7 times the size SPX
options traded at settlement, and it is 7.3 times for VIX options that are in-the-money at
settlement.” Griffin, John M. and Shams, Amin, Manipulation in the VIX? (May 23, 2017), at
32, https://ssrn.com/abstract=2972979.



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large differences in the settlement value of VIX Options and VIX Futures. This strategy is

analogous to what is generally referred to in other markets as “banging the close.”

       78.      The ability to manipulate was amplified because active trading in “strategy

orders” for the relevant SPX Options must be submitted before 8:20 a.m. But CBOE only begins

publishing information about the relevant SPX Options at 7:30 a.m. This meant that

manipulators only needed to move the market in the intended direction shortly before 8:20 a.m.

The short time window for manipulation was further intensified by the relatively infrequent

nature of VIX settlements.13 If CBOE had made the SOQ settlement window longer, during

normal market hours, or based the measurement on a blended average of trades, manipulators

would have had more difficulty reaping their ill-gotten gains.14 CBOE knew (or at the very least

recklessly disregarded) that these features of its SOQ process rendered it more susceptible to

manipulation.

       79.      Because the VIX SOQ settlement process relied upon thinly traded instruments

over a short time period, the Doe Defendants could and did engage in trading designed to move

the cash settlement value for these instruments in a desired direction. Specifically, they could

and did raise their bid premiums or lower their ask premiums for SPX Option puts at certain

strike prices, knowing that those manipulated prices would be incorporated into the VIX SOQ

settlement process.




       13
            On July 21, 2015, the SEC granted CBOEs request to commence weekly expiries of
VIX Options. See Securities and Exchange Commission, Release No. 34-75501,
https://www.sec.gov/rules /sro/cboe/2015/34-75501.pdf.
        14
            The Doe Defendants had, among other things, cash-settled VIX Options and VIX
Futures. By manipulating the SOQ process, the Doe Defendants were paid more (or were forced
to pay less) than they would have otherwise. Such manipulated payouts were a major motivation
for the manipulation, though not the only such motivation.



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       80.     By placing higher bid premiums on puts at particular strike prices, the Doe

Defendants were able to “bang up” the level of the mid premium for that strike (i.e., the mid-

level between the bid and ask premium for a put at a given strike), and thus increase the

settlement value for any corresponding VIX Option or VIX Future. Conversely, by placing

lower ask premiums on puts at particular strike prices, the Doe Defendants were able to decrease

or “bang down” the level of the mid premium for that strike, and thus decrease the settlement

value for any corresponding VIX Option or VIX Future. Such actions could be magnified and

made less risky for the manipulator where the prices are “spoofed,” such as where an artificial

bid or ask is given then withdrawn quickly once it has served its purpose (here, impacting the

SOQ process). Traders could also cancel or delay the placement of bids or quotes until after the

settlement process was complete in order to impact the settlement process.

       81.     A former CBOE employee responsible for designing the VIX has admitted

publicly that including large numbers of cheap-but-heavily-weighted SPX put options allowed

for manipulation. Specifically, in 2012, Matthew Shapiro, who was a member of the CBOE

“Product Development Committee” in 2003 and 2004, gave an interview to Andrew Keene (who

also was a CBOE employee and committee member in 2004). During that interview, Shapiro

referred to activity during the SOQ process, and admitted that traders could “crush the print, they

can come in and sell thousands and thousands of S&P options and drop that cash down,” “or they

can bid the print up and buy thousands of S&P options.”15

       82.     In the words of Matt Levine (a former banker at Goldman Sachs and a former

mergers and acquisitions lawyer at Wachtell, Lipton, Rosen & Katz), following the earlier design



       15
          KeeneOnTheMarket.com Weekly CBOE Volatility Index (.VIX) Interview w/ Matt
Shapiro (July 12, 2012), https://www.youtube.com/watch?v=lpeN_helJVY at 2:40.



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changes in 2003, the VIX settlement process was an easy and tempting target for the Doe

Defendants:

        [I]f you are a trader who owns a lot of the market in VIX futures, you could push
        around a large dollar value of futures by trading a small dollar value in options.
        This is particularly true because the S&P option volume is divided among many
        strikes, and the illiquid deep out-of-the-money S&P 500 options have a big
        influence on the VIX: You can move the price of those options a lot with
        relatively small trades, and those price changes have a disproportionate effect on
        the VIX. . . . [Thus,] if you are going to manipulate a tradable market . . . then
        VIX looks pretty tempting.16

        C.      Elevating Replicability, and Other CBOE Design Choices, Left the SOQ
                Process Vulnerable to Manipulation by Abuse of the Two-Zero Bid Rule

        83.     The SOQ calculation starts at the center and works outwards through increasingly

out-of-the-money strike prices. This calculation stops when two zeroes are found in a row—the

so-called “two-zero bid rule.” The calculation stops at that point because that is supposed to be

an indication that the any SPX Option series beyond the gap is so far out of the money that the

pricing is likely too unreliable to use in the calculation.

        84.     The Doe Defendants could and did circumvent the two-zero bid rule by spreading

bids out across strike prices. This was done to ensure that there were never two or more

consecutive “zero bid” puts ahead of any strike prices that these Defendants wanted the SOQ

process to take into account. With any gaps artificially bridged in this way, the SOQ calculation

reached deeper and deeper into the range of out-of-the-money strike prices when determining the

settlement value for the expiring VIX Options and VIX Futures.

        85.     The following table illustrates this strategy, and the way in which the Doe

Defendants could achieve greater weighting from deep out-of-the-money puts in the SOQ

process:

        16
          Matt Levine, VIX Trading, Hoaxes, and Blockchain (May 24, 2017),
https://www.bloomberg.com/view/articles/2017-05-24/vix-trading-hoaxes-and-blockchain.



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                                        Bridging the Two-Zero Bid Gap




       86.     The manipulative effect of such a scheme was magnified by the formula used by

CBOE. The VIX is calculated using the following formula:




       87.     This formula shows a number of important relationships that influence how the

VIX is set.17 The term Q(Ki) is the midpoint of the bid-ask spread for each option with strike Ki.

The price of each Ki is weighted in the equation by the weight factor:




       17
            In this formula, in addition to the terms explained below, σ is VIX / 100; T is the time
to expiration; F is the forward index level; K0 is the first strike price below the forward index
level F; Ki is the strike price for the i-th out-of-the-money option (a call option if Ki > K0, a put
option if Ki < K0, and a put and a call if Ki = K0); ΔKi is the interval between the strike prices
(half the difference between the strike on either side of Ki); and R is the risk-free interest rate to
expiration.



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       88.     The size of this weighting factor therefore determines how much the pricing of a

given strike will influence the VIX settlement value. First, consider ΔKi, which is half the

difference between the strike prices on either side of a given strike price Ki. This variable

captures whether certain strikes were “skipped,” and therefore trading across strike prices is

more spread out. ΔKi tends to be larger for the more out-of-the-money options. Second,

consider Ki2 which is the square of the strike price. If this term is smaller (has a smaller strike

price), then the weighting factor will increase. For this reason, out-of-the-money put options

(not call options) have a much greater impact on the ultimate VIX settlement price. This is

because the strike prices of out-of-the-money put options are always less than the prevailing at-

the-money price, while the strike prices of out-of-the-money call options are always greater than

the prevailing at-the-money strike price.

       89.     Together, these factors mean that the put options that are the most out of the

money will have a disproportionate impact on the ultimate VIX settlement price. This

relationship is shown in the following figure. By avoiding the two-zero bid rule, and thus

causing the calculation to reach into bids and asks that were even deeper out of the money, the

Doe Defendants were able to amplify the impact of their manipulative acts. CBOE knew or

recklessly disregarded that these features of its SOQ process rendered it more susceptible to

manipulation for the sake of ensuring its VIX products were a profitable success.




                                                 29
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                                     Hypothetical Example: Moneyness of
                            SPX Put Option and Weight on Premium in VIX Calculation




II.    MULTIPLE ANALYSES CONFIRM THE REPLICABILITY-DRIVEN DESIGN
       FLAWS WERE ROUTINELY EXPLOITED

       90.        Contrary to CBOE’s repeated representations, and unbeknownst to investors, the

VIX settlement process was being hijacked by the Doe Defendants so they could manipulate the

cash settlement values for VIX Options and VIX Futures. And this hijacking was occurring,

consistently, for years. Thus, far from accurately reflecting market volatility, the SOQ

settlement process allowed the Doe Defendants to fool everyone else into accepting artificial

settlement prices. While CBOE’s proprietary settlement process for VIX Options and VIX

Futures was complex, it was ripe for corruption by those with the necessary level of

sophistication.




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       91.     In May 2017, a research paper titled “Manipulation in the VIX?” by Professor

Griffin and Mr. Shams of the University of Texas was first made available.18 That paper

concluded:

       First, at the exact time of monthly VIX settlement, highly statistically and
       economically significant trading volume spikes occur in the underlying SPX
       options. Second, the spike occurs only in the OTM [out-of-the-money] SPX
       options that are included in the VIX settlement calculation and not in the excluded
       in-the-money (ITM) SPX options. Third, there is no spike in volume for the
       similar S&P 100 Index (OEX) or SPDR S&P 500 ETF (SPY) options that are
       unconnected to volatility index derivatives. Fourth, if traders sought to
       manipulate the VIX settlement, they would want to move the prices by optimally
       spreading their trades across the SPX strikes and increasing the number of trades
       in the deep OTM put options consistent with the VIX formula. Trading volume at
       settlement follows this pattern, whereas normally deep OTM options are rarely
       traded. Fifth, there are certain options that have discontinuously higher weight in
       the VIX formula but are otherwise very similar to other options. These options
       exhibit jumps in trading volume at settlement that are not present at normal times.

       92.     The Griffin and Shams paper also considered alternative—purportedly innocent—

explanations for these suspicious trading patterns. These included potential hedging (including

by rolling hedging positions into SPX Options in a manner that exactly replicated the VIX

weighting formula) or “pent-up liquidity demand.”19 Ultimately the paper rejected them all as

inconsistent with the trading data, and instead concluded that “[t]he most natural explanation for

these patterns appears to be attempted manipulation.”20

       93.     On February 12, 2018, the law firm Zuckerman Law wrote to the SEC and the

CFTC on behalf of a whistleblower “who has held senior positions at some of the largest

investment firms in the world.” The letter alleges that CBOE was responsible for allowing

“pervasive flaw[s]” in the VIX; for failing “[to] implement circuit breakers on the VIX futures”

       18
            John M. Griffin & Amin Shams, Manipulation in the VIX? (May 23, 2017),
https://ssrn.com/abstract=2972979. The paper was later peer-reviewed and published by the
Oxford University Press.
         19
            Id. at 3.
         20
            Id. at 5.



                                                31
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for failing “[to] plac[e] any safeguards around an unstable market structure for VIX products”;

and for providing “woefully inadequate” disclosure in light of those flaws and lack of

safeguards. The letter also alleges that unknown “trading firms with sophisticated algorithms

[capable of moving] the VIX up or down by simply posting quotes on S&P options” were

actively manipulating in this way. As explained in the letter, “VIX is highly subject to

manipulation by market participants with the ability to rapidly post quotes in the market for

[SPX Options]” and “because the VIX is a theoretical index, which does not rely on trading

activity but mid-prices, [it] can be moved up or down by posting quotes without any physical

trading taking place.”

       94.     Between these academic analyses, the whistleblower allegations, and public

statements of multiple former public regulators (including by former CFTC Commissioner

Chilton and Former SEC Chairman Pitt), a consensus has emerged that the SOQ process was

severely compromised and was intentionally designed to feature the very vulnerabilities that the

Doe Defendants exploited.

       95.     But members of the Class need not wait for the final results of any eventual

government investigation. Plaintiffs’ economists have conducted economic and statistical

analyses demonstrating that the flaws in the VIX SOQ process were repeatedly and routinely

exploited by the Doe Defendants. These “screens” are statistical tools based on economic

models that use available data such as prices, bids, quotes, spreads, and volumes to identify the

existence, causes, duration, and scope of manipulation, collusion, or other illegal behavior.21



       21
            See generally Testimony of Rosa M. Abrantes-Metz on behalf of the Office of
Enforcement Staff, Federal Energy Regulatory Commission (Sept. 22, 2014),
http://elibrary.ferc.gov/idmws/doc_info.asp?document_id=14274590. For instance, the use of
screens was part of the initial analysis that eventually led to the discovery of the LIBOR rate-



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       A.      The Ratio of Trading Volume for SPX Option Puts to Calls Skewed
               Significantly on Settlement Days

       96.     SPX Option put trades have an outsized impact on the ultimate VIX settlement

value. A disproportionate use of puts over calls thus provides evidence that manipulation was

taking place. It indicates that market actors just so happened to prefer the exact type of order

that would maximize a manipulative effect during the exact time such manipulative effect was

possible.

       97.     And this is precisely what the data show.22 As seen in the following chart, the

ratio of put trades to call trades was relatively similar (1.74 to 1.82) when considered across the

whole of expiry and non-expiry days—but it ballooned (to 5.93) during the SOQ settlement

window:




setting scandal. Screens also led to the initial detection, in the summer of 2013, of foreign
exchange benchmark manipulation, which resulted in excess of $3 billion in first-round
settlement payments by banks in the U.S., the U.K., and Switzerland in November 2014.
        22
            Unless otherwise noted, all of the studies herein run as far back in time to the start of
the Class Period as is possible based on the availability of sufficient data to run the analyses.



                                                  33
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       98.     That the strongest tool for manipulation was heavily favored during the time of

day when manipulation was most likely to occur can also be seen by tracking the trend over time.

In the following chart, the blue-gray line represents the (lower) ratio of puts to calls overall,

while the (higher) orange line does so for SPX Options included in the SOQ process.




       99.     Again, the data show that market actors just so happened to prefer the type of

order that would maximize a manipulative effect during exactly the time when such manipulative

effect was possible. But the ratio was much different (closer to even) at times when a settlement

was not occurring. The consistency of this result provides plausible evidence not just that

manipulation was taking place. It also shows that CBOE—who watched, and also had

undeniable access to the relevant data—knew about it, but did nothing, or recklessly disregarded

it.




                                                  34
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       B.      Trading Volume Increased in Multiple Suspicious Ways on Settlement Days,
               Particularly for SPX Options With a Bigger Impact on the SOQ Process

       100.    Multiple anomalies surrounding the volume of SPX Options trading on settlement

days confirm that the flaws in the VIX SOQ process were routinely being exploited.

       101.    First, trading volume generally was higher on settlement days than on non-

settlement days. If SPX Options were being used to manipulate the settlement process, one

would expect there to be an abnormally high amount of SPX Options activity on settlement days,

specifically. Again, that is exactly what the data show. Year after year, the red bars (volume on

settlement Wednesdays) are consistently higher than the blue bars (non-settlement

Wednesdays).23




       102.    Rather than comparing volume on settlement Wednesdays to non-settlement

Wednesdays, Plaintiffs also compared volume on settlement Wednesdays to the volume on all


       23
            For the sake of clarity, certain studies herein, for purposes of efficiency, focused on
data derived from monthly settlement processes, whereas others also included the broader set of
data that included settlement of the weekly products.



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non-settlement days. The data there similarly show increased SPX Option trading volume on

settlement days. Plaintiffs also compared the volume on settlement Wednesdays to the volume

of the day prior to the settlement day. Again, the data show that SPX Options were traded more

actively on settlement days. Indeed, 92% of monthly settlements prior to February 13, 2018, saw

a higher trading volume than the Tuesday that preceded them.

        103.     The fact that trading activity spiked on settlement days was, itself, a red flag. But

a closer inspection of the data CBOE had—specifically, an analysis of the types of transactions

driving that settlement-day volume spike—provides even more compelling evidence that CBOE

knew or recklessly disregarded that manipulation was occurring.

        104.     Second, put options were traded more often on settlement days the more out-of-

the-money they became. All things being equal, in a market free of manipulation, one would

expect that the trading volume would decrease the further out of the money an option becomes.

When an option is less and less likely to be exercised, there is less and less reason for an investor

to pay for it.

        105.     This expected relationship held true for SPX call options. This can be seen in the

following chart, which depicts trading for SPX call options for September 15, 2010, within the

SOQ window. For a call option, a higher strike price (more to the right in the chart) equates to

being more out of the money. The expected relationship between moneyness and volume is thus

seen in the chart below as a line running downhill from left to right, as the call option gets more

out of the money. The more out of the money a call option is, the less likely it is to be traded.

The actual trend follows that same line.




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       106.    In contrast to SPX call options, SPX put options during the settlement process do

not follow the pattern one would expect absent manipulation. The expected (absent

manipulation) relationship between moneyness and volume is the same as with call options—

lower volume for more out-of-the-money options. But for put options, a higher strike price

(more to the right in the chart) equates to being less out of the money. Thus, the expected

relationship between moneyness and volume appears in the chart below as a line running uphill

from left to right, as the put option gets more out of the money.




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       107.    The real difference from the previous chart is not that the expected line changes

from uphill to downhill going from left to right, which is just due to the basic differences

between a put and call. Rather, it is the fact that for put options the expected and actual lines are

no longer one and the same, as they were for call options. The data instead show that,

counterintuitively, the more out of the money an SPX put option was (the further to the left on

the chart) the more it was being traded (the higher up on the chart).

       108.    The difference is explained by the fact that the weight assigned to the strike price

for a SPX put option increases as the option is further and further out of the money. Thus, the

fact trading volume unnaturally went up as the put options got more out of the money, but did

not do so for call options, is further evidence that manipulation was occurring. The Doe

Defendants traded far out-of-the-money puts because of their outsized impact on the SOQ

process, not because of the normal forces of supply and demand.

       109.    This breakdown of expectations was not isolated to September 15, 2010, which

was just used as an example to illustrate the gap between expectations and reality. Rather, the

break with expected patterns was seen on most every settlement day. As the chart below reflects,

for many years, every settlement window saw SPX put options trading more often the further out

they were.




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       110.    To see the consistency of the problem another way, the following graph plots the

normalized volume of trading for SPX Options both during the SOQ settlement window (orange

line) and outside the settlement window (blue-gray line).

       111.    As with the one-day chart above for put options, a lower strike price is more out

of the money. Thus, movement from left to right would be expected to result in an ‘uphill’ plot,

with volume increasing as the strike price becomes less out of the money. This is what the data

show for trading outside the settlement window, seen in the following chart as the gray-blue

line.24 In contrast, in the settlement window, the data show the opposite, with volume increasing

the more out of the money the put option is. Once more, the data in CBOE’s possession provide

compelling evidence that SPX Options were not being traded for legitimate purposes, but to

manipulate the settlement process.




       24
             Due to the volume of data in tracking intra-day pricing information, for comparison
purposes only data from January 7, 2015 to August 31, 2016 was used to construct the blue-gray
line in this chart and for the one at paragraph 114 below.



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       112.    Third, the abnormal volume of out-of-the-money option trades was particularly

present in those options that carry the most weight in the SOQ formula. As discussed in Section

I.C above, ΔKi is half the difference between the strike prices on either side of a given strike

price Ki. This variable captures whether certain strikes were “skipped,” and therefore whether

trading across strike prices is more spread out. ΔKi plays an important part in the VIX weighting

formula. Strike prices that have a larger ΔKi will have a larger impact on the ultimate VIX value.

       113.    Just as abnormal trading volume in puts (but not calls) is evidence of

manipulation, an abnormal focus on strike prices with a larger ΔKi is as well.

       114.    And that is what the data show. Trading volume was higher for options that had a

wider gap between consecutive strike prices (i.e., had a higher ΔKi). This is seen in the orange

line, which rises (relative volume goes up) from left to right (as the gap between strike prices




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grows). Notably, this was not true outside the settlement window, as seen by the blue-gray

line.25




          115.    Similarly, the following chart again depicts the fact that the VIX SOQ formula

after 2003 gave disproportionate weight to far out-of-the-money put options. The red line tracks

the sensitivity of the VIX settlement price (on the y-axis) to trades in the various underlying SPX

Option series inputs (on the x-axis) as they become more or less out of the money on the put and

call sides. The far left and right sides of the chart—and especially the far left side—demonstrate

that the VIX settlement value is more sensitive to deeply out-of-the-money puts than trades in

other VIX options series.




          25
               See footnote 24 above (discussing data used for blue-gray line).



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                                Source: Griffin and Shams (2018)

       116.    In the following chart, the blue line tracks the volume of trades in relation to the

moneyness of the SPX Option series during the settlement window. One can see a long slope

upward in volume as the SPX put options become further out-of-the-money. This continues until

there is a sudden spike towards the end of the chart where the options are both the cheapest

(because they are the most out of the money) yet have the greatest weight in the VIX SOQ

formula. Notably, the shape of this curve mirrors almost exactly the shape of the curve in the

sensitivity chart above. In contrast, the green line tracks trading volume other than during the

SOQ window, and the curve of that line bears no relation to the VIX sensitivity curve. Instead,

as one would expect with normal buying and selling, the largest amount of trading activity is

centered around the at-the-money price because these are the options that are most likely to pay

out upon settlement.




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                               Source: Griffin and Shams (2018)

       117.    Finally, trading volume increased right at the thirty day mark. SPX Options were

included in the VIX SOQ calculation only if they were (1) 30 days to maturity, and (2) out of the

money. The data show that at exactly 30 days to maturity, out-of-the-money options—but only

out-of-the-money options—saw a spike in trading volume. In other words, the increased trading

volume on settlement days was driven by trading in the exact instruments that would impact the

SOQ process.




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       118.    Further confirming this conclusion, Plaintiffs compared out-of-the-money SPX

Options to OEX options. OEX options are on the S&P 100 (rather than the S&P 500) and are

not used in the SOQ process. As can be seen in the following chart, there is a spike in SPX

Options (orange line) but no similar spoke in OEX options (red line).




       119.    Thus, again, the data show that the tools traders could use to manipulate the SOQ

process were used in abnormal volumes. On the other hand, traders paid no special attention to

transactions that are irrelevant to the SOQ process. This all suggests plausibly that the SOQ

process was being manipulated. As CBOE had this data and far more, it also shows that CBOE

knew or recklessly disregarded that was the case.

       C.      The Data Show Routine Exploitation of the Two-Zero Bid Rule

       120.    As discussed above in Section I.C, the settlement process was prone to

manipulation because traders could artificially fill gaps in the SPX Options series taken into

account in the SOQ process in order to avoid triggering the two-zero bid rule. Filling these gaps

forces the SOQ formula to take into account SPX Options series with prices that were further and




                                                44
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further out of the money, which were cheaper and cheaper for the Doe Defendants to purchase

for manipulation purposes. The data show this is exactly what was occurring.

        121.    Plaintiffs’ economists studied all VIX-relevant SPX Options26 and determined

which ones would, given CBOE’s criteria, be included in the VIX (and SOQ) formula. For

instance, only options that are out of the money and have a non-zero bid are included. Plaintiffs

analyzed how many SPX Options were quoted at 8:30 a.m. that were and were not “VIX-

eligible,” then did so again at 8:40 a.m.

        122.    Prior to February 2018, the total number of actively quoted SPX Options

(meaning options with a non-zero ask quote) did not change much from 8:30 a.m. to 8:40 a.m. on

settlement days. However, the number of those SPX Options that were VIX-eligible was higher,

to a statistically significant degree, at 8:30 a.m. than at 8:40 a.m.

        123.    Prior to February 2018, the total number of actively quoted SPX Options did not

change much from 8:30 a.m. on Tuesday to 8:30 a.m. on a settlement Wednesday. However, the

number of those SPX Options that were VIX-eligible was higher, to a statistically significant

degree, on the settlement day.

        124.    Plaintiffs’ economists also analyzed whether there was a difference between the

number of VIX-eligible options at 8:40 a.m. on a settlement day, and 8:40 a.m. on the day prior.

There was no such difference, either for all actively quoted SPX Options or for the VIX-eligible

subset of options.




        26
           In the following analysis plaintiffs restrict their attention to SPX Options where were
between 24 and 36 days from settlement. It is from this large group of options that the options
used to determine the VIX are drawn. Note that VIX Settlement Dates are always 30 days before
SPX Options settlement dates.



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       125.    These three studies show that the Doe Defendants were filling gaps by trading

more and more SPX Options. But they were doing so only around the settlement window. This

shows an attempt to force the VIX SOQ calculation to include SPX Options that were further and

further out of the money—options that had greater weight in the VIX SOQ calculation.

       126.    Another way to see this was to study the likelihood that any given SPX Option

would meet the criteria for inclusion in the VIX SOQ calculation process (1) when the settlement

calculation was conducted, versus (2) at another point in time. The data show that, in fact, a

randomly chosen out-of-the-money, non-zero bid SPX Option is far more likely to be VIX-

eligible at 8:30 a.m. on a settlement day, than at 8:30 a.m. the day prior. The only reason such an

out-of-the-money, non-zero bid SPX Option would not be VIX-eligible is because it is excluded

by the two-zero bid rule. This result holds because there were far fewer two-zero bid gaps

during the settlement window. As with those previous studies, this is evidence the Doe

Defendants were filling the two-zero bid gaps only when doing so mattered for the settlement

calculation. Which is to say, it is evidence they were manipulating the settlement process.27

       127.    The data also show that the strength of the relationship between the presence of a

settlement window, and the probability a given SPX Option would be VIX-eligible, increases as

the option gains more weight in the SOQ VIX formula.28 This is yet another sign that the gap-

filling was done to manipulate the process.




       27
            As a robustness check, Plaintiffs also analyzed whether being VIX-eligible at 8:40
a.m. the day before was a good predictor of being VIX-eligible at 8:40 a.m. on a settlement day.
It was not, again confirming it is the presence of the settlement process that drove the gaps to be
filled.
        28
            Here, the increased weight was because of a higher ratio of the midpoint price to the
strike price.



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       D.      Comparisons to the VIX Itself Reveal Further Evidence of Manipulation

       128.    The intraday VIX benchmark figure and the VIX SOQ settlement process use the

same input in a nearly identical fashion. One would therefore expect that the settlement figure

and the first intraday VIX benchmark figure to be almost always in sync.

       129.    The question here is not whether the VIX moves. It does, like most other prices.

Rather, it is the comparison that is relevant. If the VIX moves differently when a settlement is

involved, that would show that SPX Options—used for both the VIX figure itself and for the

VIX SOQ process—were under unique pressures only around the settlement window. In other

words, it would again show that the SOQ process was a target for manipulation.

       130.    Viewed from many angles, the data show the VIX acting differently around the

settlement window. For instance: (1) VIX settlement values were statistically significantly

different from the VIX opening values 65% of the time from May 2004 to February 13, 2018;29

(2) there was a much larger gap between the VIX at the start and end of the day for settlement

Wednesdays; (3) there was a much larger gap between the VIX at the start of the day and fifteen

minutes later on settlement Wednesdays; and (4) the “coefficient of variation” for settlement

Wednesdays was higher than for non-settlement Wednesdays as compared to either non-

settlement Wednesdays or non-settlement days generally, meaning the VIX was not moving as

smoothly on settlement days.30 These differences were statistically significant.




       29
            This difference is not caused by the fact that the VIX index is based on a midpoint
whereas the SOQ is based on actual trades. Across the many calculations that go into the SOQ,
one would expect those differences in methodology to even out. Confirming that to be the case,
the data show that the differences in traded prices versus the midpoint between the bid and offer
prices is negligible (at the median, it is exactly zero).
        30
            The coefficient of variation in effect measures the amount of change from minute to
minute during the course of the day.



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       131.    All these studies show that the VIX was not behaving the same on settlement days

as compared to non-settlement days—further supporting the conclusion that prices on settlement

days were being made artificial by manipulation during the SOQ process.

       E.      Trading Behaviors Changed After It Was Reported That FINRA Was
               Investigating the VIX

       132.    On February 13, 2018, it was first publicly reported that the government—

FINRA, specifically—was investigating the manipulation of VIX pricing. If the market is acting

one way prior to a major event like the public announcement of FINRA’s involvement, and a

different way after that announcement, such change in activity is consistent with a lessening of

the abuses out of an increased fear of getting caught. That is, again, what the data show. The

following charts compare the volume of SPX Options trading on settlement Wednesdays with

that on other days. The change in behavior can be seen in the bigger difference between the red

and blue bars on the left (pre-February 2018) as compared to the difference between the red and

blue bars on the right (post-February 2018).




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       133.    Another indication that the Doe Defendants banged the close less often is that,

after February 13, 2018, volume on settlement Wednesdays was higher than on the day before

only about 57% of the time—which was (1) far less than the 92% prior to February 13, 2018, and

(2) almost exactly in line with the 56% of times seen in the ‘control’ study, which looked at

changes in volume between Tuesday and non-settlement Wednesdays.

       134.    Looking only at changes in volume for the most illiquid SPX Options again finds

a difference before and after FINRA’s investigation was announced. Prior to FINRA’s

announcement, there was a statistically significant difference in volume between settlement

Wednesdays and non-settlement Wednesdays for the most out-of-the-money SPX Options.31

Following FINRA’s announcement, there is no longer a statistically significant difference in

volume.




       31
          As discussed above, the deeper out-of-the-money put options are the stronger tools for
manipulation.



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       135.     As discussed above in Section II.C, the evidence shows that the Doe Defendants

were filling pricing gaps in order to avoid triggering the two-zero bid rule. The evidence further

show this phenomenon occurred only in the settlement window. After February 13, 2018,

however, these signs of manipulation abated.

       136.     In the following chart, the small blue bar on the far left shows that, prior to

February 13, 2018, the total number of actively quoted SPX Options 24 to 36 days from

settlement did not change much from 8:30 a.m. to 8:40 a.m. The taller red chart next to it,

however, indicates that the number of VIX-eligible (e.g., gaps-filled) SPX Options was different,

to a statistically significant degree, between 8:30 a.m. and 8:40 a.m.

       137.     This is evidence of manipulating prices at 8:30 a.m. to fill the gap during the

settlement process, then ceasing to support such artificial prices after the settlement process was

complete. As seen in the blue and red bars on the right side of the chart, after FINRA’s

investigation was announced, there was no statistically significant difference in the number of

VIX-eligible (gaps-filled) SPX Options around the settlement window. This is consistent with a

slow-down in the efforts to artificially fill the gaps during the settlement window.32




       32
            For this and the following chart, the time period is limited due to data availability.



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       138.    The above analysis identified the presence of gap-filling strategies by looking at

the difference between 8:30 a.m. and 8:40 a.m. on settlement Wednesdays. The following chart

does the same analysis, but instead compares 8:30 a.m. on Tuesday to 8:30 a.m. on a settlement

Wednesday. The conclusion is the same. Prior to FINRA’s investigation, there was a

statistically significant indication that pricing gaps were being filled only around the settlement

window. After its investigation was announced, there was not.




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       139.    Finally, as discussed above in Section II.D, multiple analyses of the behavior of

the VIX itself on and around settlement days show that SPX Options (underlying both the VIX

index and the VIX SOQ process) were under unique pressure on settlement days. Belying any

claim this was benign, these signs abated after FINRA’s investigation was announced. For

instance: (1) after February 13, 2018, there were far fewer instances of statistically significant

gaps between the VIX opening price and the SOQ settlement price (32%, down from 64%); (2)

the size of those gaps was smaller, to a statistically significant degree, after February 13, 2018;

(3) the difference in “normalized” intraday prices on monthly settlement Wednesdays versus

non-monthly settlement Wednesdays was much less pronounced after February 13, 2018 than it

was before; (4) there was no statistically significant difference in the behavior of the VIX from

the beginning of the day to the end on monthly settlement Wednesdays versus on other days after

February 13, 2018;33 and (5) there was no statistically significant difference in the behavior of



       33
         This means that that on settlement Wednesdays prior to FINRA’s investigation, the
VIX opening was a much worse forecaster of the value at which the VIX was going to close on



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the VIX from the beginning of the day to fifteen minutes later on monthly settlement

Wednesdays versus on other days after February 13, 2018. These studies show that there was a

force pushing VIX prices towards artificial levels (i.e., manipulation) in the earlier period, that

was less present once the FINRA investigation was announced.

       140.    In sum, multiple analyses—volume, gap-filling, and intraday VIX comparisons—

confirm the patterns of manipulation that existed for many years disappeared or were

substantially reduced once FINRA’s investigation was announced. This break in behavior

confirms that the patterns were not the result of innocent trading activity, such as hedging or

market-making. Rather, the patterns are evidence of the Doe Defendants’ manipulations of the

VIX SOQ process.

       F.      The Flaws in the VIX Design Are Confirmed by Comparison to Other
               Volatility Benchmark Designs

       141.    CBOE made a choice when it selected and then stuck by the SOQ process. As

discussed below, other calculation options existed.34 If CBOE had selected a different process,

including by incorporating one or more of the safeguards seen in other products and industry

standards, it would have made the VIX products less susceptible to manipulation. But it also

would have made the VIX products much less attractive to market makers and liquidity


the same day, than on non-settlement Wednesdays. But such a difference in the forecasting
accuracy of the opening VIX price no longer existed after February 13, 2018
        34
            CBOE has publicly confirmed that it was aware of this choice, yet chose the flawed
VIX model. See, e.g., Edward T. Tilly, CBOE Chairman and CEO, Cboe Global Markets Inc,
Bank of America Merrill Lynch Future of Financials Conference (Nov. 15, 2017) (“We took a
long time to establish a process to settle the [VIX] futures, right? So we had a number of
different alternatives. One of which, CME is employing. And that is taking a weighted average
of transactions over a certain period of time, over 4 exchanges and settling your future against
those 4 different price points on other exchanges. We looked at it from a trader’s perspective
and we follow the model that was very successful for us in launching fixed futures. And that is
at a moment in time when we settle the futures, you can replicate that exposure. In the case of
VIX, it’s with S&P 500 options.”).



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providers, and thus far less likely to succeed in a crowded marketplace and earn substantial

profits for CBOE.

       142.    Other volatility products. The European equivalent of the VIX is the “Volatility

Derivatives on Eurex Exchange,” known as “VSTOXX.” Like the VIX, VSTOXX is designed

to reflect investor sentiment and overall economic uncertainty. It does this by measuring the 30-

day implied volatility of the “EURO STOXX 50,” an index of the fifty largest and most liquid

European stocks.35 However, unlike VIX, VSTOXX is calculated using a process that is far less

susceptible to manipulation. In the words of France’s financial markets regulator, the Autorité

des Marchés Financiers (“AMF”), in a report published in April 2018 following the

commencement of this litigation and other public scrutiny of the VIX process:36

       The final settlement price of the VSTOXX future is calculated based on the
       average of the prices of the VSTOXX index between 11:30am and 12. As the
       [VSTOXX] index is calculated every 15 seconds, 61 points are used in calculating
       the settlement price of the future (as opposed to a single point for the VIX).
       Given the liquidity of Eurostoxx 50 options at this time of the day, it would thus
       appear much more difficult and costly to manipulate VSTOXX futures [than to
       manipulate VIX].

       143.    In contrast to the designers of the VSTOXX, CBOE has decided that the VIX

settlement value is not based on averages and is calculated during a shorter trading window,

outside of ordinary market hours. CBOE has also decided that the VIX SOQ involves a much

smaller number of price inputs and would—to a significant degree—be based on much less

liquid price inputs. CBOE chose not to implement other features in establishing the SOQ



       35
           Eurex, Volatility Derivatives on Eurex Exchange: VSTOXX,
https://www.eurexchange.com/exchange-en/products/vol/vstoxx.
        36
           Caroline Le Moign & Franck Raillon, Heightened Volatility In Early February 2018:
The Impact of VIX Products (Apr. 2018), Autorité des Marchés Financiers, at 22,
https://www.amf-france.org/technique/multimedia?docId=workspace://SpacesStore/1b3ca6c2-
149c-4ab9-8043-826e060c19e8_en_1.0_rendition (emphasis added).



                                               54
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process because it recognized that, while its process would be less susceptible to manipulation, it

would be much less lucrative for CBOE.

       144.    As the AMF concluded, all of these design features combined to make the VIX

“much [less] difficult and costly to manipulate” than the VSTOXX.37 Indeed, as the AMF went

on to note, VSTOXX is not the only European index that measures volatility in a similar way to

VIX, yet it is more difficult and expensive—or even impossible—to manipulate:38

       In France, Euronext publishes an index that is similar to the VIX, the VCAC, for
       which the calculation method is identical to that of the VIX. However, since the
       VCAC is not [based on] an underlying [series] of listed derivatives, a
       manipulation scheme on the VCAC index similar to the alleged VIX manipulation
       may thus be ruled out.

       145.    CBOE could have significantly reduced manipulation in respect of the SOQ

process by designing it to be more like the VSTOXX or the VCAC. To confirm this, Plaintiffs

took the real-world VIX monthly settlement data from 7:45 a.m. to 8:15 a.m. for a three-year

sample period, from April 2016 and May 2019. Plaintiffs then calculated the VIX settlement

price, but using the VSTOXX design instead of the VIX design. That is, Plaintiffs (1) took a

snapshot of the price for each SPX Option series every five seconds for a thirty-minute window

centered around 8:00 a.m. during the SOQ period; (2) calculated the average of those prices for

each series; and then (3) in line with the VSTOXX methodology, deemed that average to be what

the SPX Option series prices would be, and thus what the VIX settlement price would be, for

those settlement days.




       37
           While some manipulation of the CSTOXX has been alleged, it is not nearly on the
same scale as alleged in this proceeding.
       38
           Moign & Raillon, Heightened Volatility In Early February 2018: The Impact of VIX
Products (Apr. 2018), at 23 (emphasis added).



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       146.    The results allow for a comparison of both the frequency and size of the price

deviation39 as between: (1) the VIX settlement process as CBOE designed it, and (2) the VIX

settlement process that CBOE could have designed. This comparison shows that deviations

would have been both less frequent and smaller in size, to a statistically significant degree, under

the VSTOXX design than they were under the actual VIX design. In fact, the average size of the

VIX price deviation was more than two and a half times larger using the VIX design as opposed

to the VSTOXX design.

       147.    This does not mean that CBOE perceived itself as having the option of such a

system while still having the same chance of success getting its VIX franchise off the ground.

The VIX products came first and thus had more headwinds to success—CBOE had to create

essentially a new space for tradable volatility-based products in the market. Eurex, the exchange

that later launched the VSTOXX, was also not operating under the same economic pressures as

CBOE faced at the time.40 Thus, the fact another company chose to not engage in a deceit while

still in hindsight achieving some success, does not negate Plaintiffs’ allegation that CBOE

perceived its replicability and other choices laid out above as a worthwhile shortcut to quicker,

bigger successes in its VIX franchise.

       148.    Recognized principles. The design CBOE chose for the VIX and the SOQ also

falls far short when compared to the “Principles for Financial Benchmarks” published by the

Board of the International Organization of Securities Commissions (“IOSCO”). These principles


       39
           As above, “deviation” here is measured as the difference between the price outcome of
the SOQ process and the price of the VIX upon market opening.
        40
            For example, by the time the VSTOXX was launched in April 2005, Eurex was
already the largest futures exchange in the world (CBOE, by contrast, had total revenues of only
$200 million in 2005). Eurex was also only one of several exchange companies owned by its
parents Deutsche Borse and SIX Swiss Exchange and not a stand-alone company engaged in a
race to go public like CBOE.



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describe processes intended to ensure that benchmarks that will be free of manipulation.

CBOE’s deliberate and conscious design of the VIX violates multiple IOSCO principles:

               a.      CBOE’s VIX design breaches IOSCO Principle 3, which states that
                       Benchmark Administrators should ensure “existing or potential conflicts
                       of interest do not inappropriately influence Benchmark determinations.”
                       CBOE derives revenue from the trading activity that constitutes inputs to
                       the benchmark as well as from trading activity that is connected to the
                       benchmark.

               b.      CBOE’s VIX design also violates IOSCO Principle 7(a), which states that
                       data used to construct a benchmark should “be based on prices, rates,
                       indices or values that have been formed by the competitive forces of
                       supply and demand.” The data used to construct the VIX settlement are
                       drawn in large part from illiquid instruments that lack trading depth.

               c.      CBOE’s VIX design also violates IOSCO Principle 7(b), which states that
                       data used to construct a benchmark should “be anchored by observable
                       transactions entered into at arm’s length between buyers and sellers in the
                       market for the Interest the Benchmark measures.” The SOQ is not
                       constructed from transactions in the highly liquid VIX market, but from
                       transactions in an illiquid period of the SPX Options market, in a special
                       process in which CBOE’s self-appointed market makers have preferential
                       trading powers.

       149.    CBOE also deliberately chose not to follow these principles out of crude self-

interest. The entire point of the push to create the VIX franchise was to keep everything in-

house to drive up fees from proprietary trades, meaning CBOE was trying to exploit rather than

avoid conflicts of interest. Nor did CBOE want to have the SOQ process tied to a small number

of liquid, expensive transactions; rather, it chose to expand the calculation to encourage liquidity

provider support, as well as a much higher volume of settlement-related trading and thus higher

fees. It essentially decided to knowingly prioritize profits over protecting its non-privileged

customers from manipulation.

       150.    Comparison to other benchmark products. CBOE’s design choices also sharply

contrast with the ICE SWAP Rate, which was introduced on March 31, 2015, following

government investigations into manipulation of what was previously known as the ISDAfix


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benchmark. In contrast to the VIX, the ICE Swap Rate directly relies on highly liquid trading

activity from a number of different swap trading platforms as assessed at 24 randomized points

in time.41 ICE’s decision to make this change in an established product after a major scandal

does not undermine the fact that CBOE sought to get a competitive advantage in making its

settlement process highly replicable. It did so in an effort to get its entirely new VIX franchise

off the ground, and then to keep its profits growing.

       151.    CBOE also chose to design the VIX in a way that caused it to share flaws with

various oil benchmarks. United States and European regulators have long held concerns that

such benchmarks were based on “incomplete information from unregulated, illiquid markets.”42

In particular, oil benchmark prices have “long been under fire from regulators” because the

benchmark administrators operate in a shroud of secrecy while generating profit from selling

gathered market information to subscribers. The relevant benchmarks are also often generated

from submissions or reports, rather than from live trading activity. Similarly, the SPX Options

market employed in the SOQ process (including especially the deep out-of-the-money SPX put

options most heavily weighted in the SOQ process) is illiquid in the same way as the commodity

markets that have been subject to scrutiny by the U.S. and E.U. regulators. CBOE is also subject

to the same conflict of interest concerns raised in those markets—it stands to benefit from

manipulative activity in the form of increased trading revenues both in the products being settled

and in the product being used to manipulate.




       41
          ICE Benchmark Administration, IOSCO Assessment Report, https://www.theice.com/
publicdocs/ISR_IOSCO_Principles.pdf.
       42
           Economist Magazine, Fixing the Fix (Feb. 10, 2014), https://www.economist.com/
news/finance-and-economics/21595943-european-union-wants-change-how-commodity-
benchmarks-are-set-fixing-fix.



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III.   CBOE ENJOYED DIRECT AND SIGNIFICANT BENEFITS FROM THE DOE
       DEFENDANTS’ MANIPULATION—SEPARATE AND IN ADDITION TO
       CBOE’S INCOME FROM LEGITIMATE VIX TRADING

       152.      CBOE’s design, listing, and promotion of the flawed VIX franchise was driven by

a desire to cater to liquidity providers so that the VIX franchise would have a better chance of

getting off the ground and then continuing its upward trajectory. As discussed below, however,

Plaintiffs have also conducted analyses which confirm CBOE did not merely profit generally

from the existence and success of the VIX franchise; it profited specifically from the Doe

Defendants’ manipulation of those products.

       A.        CBOE Benefitted From a 753% Increase in Fees During the SOQ Window
                 by Using the Changed Formula

       153.      CBOE charges fees on a per-transaction basis, regardless of the value of that

transaction. Thus, CBOE earns higher profits on a larger number of less expensive out-of-the-

money option trades, than it does on a smaller number of more expensive close-to-at-the-money

option trades.

       154.      By changing the VIX and VIX SOQ formula to include dozens of cheaper option

series—rather than just four expensive ones—CBOE significantly increased its profits during the

settlement window. It did so because there were many more transactions occurring during the

SOQ window.

       155.      To demonstrate the magnitude of this change, Plaintiffs took the total amount of

money spent on SPX Options during the SOQ process from 2007 to 2018, and calculated the

trading fees that CBOE earned from those trades. Plaintiffs then calculated the amount of

trading fees CBOE would have earned if this same amount of money had been spent under the

pre-2003 formula, when the SOQ was based on only four, expensive, SPX Options series.




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       156.    This analysis found that CBOE earned 753% more in fees on SPX Options trades

during the SOQ window for monthly settlements from 2007 to 2018 than it would have in the

but-for world with the simpler, pre-2003 calculation.

       B.      CBOE Benefited from a 60% Increase in Trading Fees on Manipulation
               Days

       157.    Plaintiffs also performed a regression analysis to study the correlation between (1)

SPX trade volume during the SOQ window, and (2) the degree of deviation demonstrated by the

outcome of the SOQ process on a given day.

       158.    That regression demonstrated a statistically significant correlation between the

two variables. The end result of this analysis found that there was on average a 60% higher

trading volume on days that showed stronger signs of having been manipulated.

       159.    Because, again, CBOE earns per-transaction fees, this also means that on average

CBOE was earning 60% more fees on manipulation days than on other days.

       C.      CBOE Earned Additional Profits on Still-More Transactions as the Risk
               from the Manipulative Transactions Was Laid Off

       160.    Even if the liquidity providers were not themselves manipulating, they could try

to profit from the orders of Doe Defendants who were. This is because the liquidity providers

were more than happy to take an order at an off-market price during the SOQ process, expecting

to be able to largely arbitrage out of the position once the market opened.

       161.    The ability to make money off manipulation attempts by others provided another

incentive for even honest liquidity providers to help get the VIX franchise off the ground. It thus

was another way in which CBOE expected its design flaw would help lead to the VIX’s adoption

by critical market actors. For example, if someone traded on the deviation between the SOQ

settlement result and the VIX at market open from October 2007 to April 2015, they would have

made more than $320 million:


                                                60
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       162.    This is another example of how the flawed system was knowingly used to entice

liquidity providers into supporting VIX products. It is also another example of how CBOE stood

to benefit specifically from manipulation of the SOQ process and not just from the success of the

VIX franchise overall. This is because every time a liquidity provider arbitraged out of a trade

done with a Doe Defendant, the second transaction was itself another instance in which CBOE

collected a per-transaction fee.

       163.    CBOE has long recognized that opportunities like these provided a strong

incentive for market makers and other investors to trade the VIX products, and in fact

encouraged certain privileged traders to profit in this way.

       164.    The following is a page from a presentation that CBOE gave to potential

European retail investors in September 2014 as part of its ongoing promotion of the VIX

franchise.43 The first three bullets describe some of the trading patterns discussed herein, i.e.,

large strategic orders during the settlement process. The third and fourth bullets note how this



       43
            CBOE Holding Presentation, Contract design and Trading of VIX and Other Listed
Volatility Derivatives, CBOE RMS Europe Conference (Sept. 4, 2014).



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creates “imbalances” and “mismatches” that (per the fifth bullet) present “opportunities” to make

a quick profit during all 52 weekly settlements a year.




        165.    Indeed, in the same September 2014 presentation, CBOE provided its audience

with a textbook example of the $5 million profit they could make (and thus the trading fees that

CBOE would earn) by trading on the price deviation created by the SOQ process:




        166.     This kind of cynical self-promotion demonstrates CBOE was not merely aware

that the SOQ process and VIX products were being manipulated, but was actively seeking to

grow its profits as a result.


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       D.      CBOE Reduced Its Costs and Increased Its Profits by Eliminating Human
               Safeguards Against SOQ Manipulation

       167.    In 2007, CBOE further automated the SOQ by eliminating the role of the “Order

Book Official.” This official was the only human watch-keeper of the SOQ process in real time.

       168.    Until 2007, the Order Book Official would observe the trades placed for SPX

Options by the market makers and other market participants during the SOQ window. Where

necessary, the Order Book Official could procure or reject trades from market participants,

theoretically to help ensure that a given SPX options series was subject to a matched bid and

offer at a reasonable market price.

       169.    The Order Book Official should have been doing this to ensure that no SPX

Options series bid, offer, or trade was incorporated into the SOQ process at an unrealistic and

off-market price. In so doing, the Order Book Official could have helped to ensure that the VIX

process was not tainted by the fact that the VIX was based on actual bids, offers, and trades for

tradeable instruments (rather than, say, just a weighted average of same), and thus could be

directly corrupted by manipulation of those instruments.

       170.    Yet in 2007, CBOE eliminated the Order Book Official. This was part of a

broader sweep to automate the VIX process, and thereby make the VIX products more profitable.

By doing so, CBOE knowingly left the SOQ process even more vulnerable to manipulation.

       171.    Indeed, CBOE officials—including without limitation John Johnston (Vice

President of Execution Services) and Phil Slocum (Executive Vice President of Trading

Operations)—were warned that the removal of this safeguard exposed the SOQ process to the

risk of being influenced by orders that were not reasonable and that did not reflect prevailing

market conditions. These officials disregarded these warnings as part of their broader ‘at-all-

costs’ push to increase CBOE profits.



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       E.      CBOE Has Continued to Reap the Rewards of the Deliberately Flawed VIX
               Design, Because It Could Not Quietly “Fix” Those Flaws Once the VIX
               Products Proved Successful

       172.    As discussed above, the design flaws at issue here were consciously placed into

the VIX products to ensure they quickly gained a foothold in the marketplace.

       173.    Even after the products took off, and CBOE saw that the flaws were, in fact, being

routinely exploited, CBOE refused to change the SOQ process. It refused to do so because of the

additional fees being generated as a result of the large volume of SOQ-related transactions.

These included fees associated with manipulation attempts themselves and trades by

counterparties to arbitrage out from those positions. They also included a 60% larger trading

volume in general on manipulation days.

       174.    CBOE also refused to fix the process out of concern it would be viewed as

admitting the VIX was flawed. Doing so could have derailed years of work, and threatened

CBOE’s planned IPO (discussed below) or later to crash CBOE’s stock price. Emboldened by

the success of its years of deceit, CBOE decided to simply maintain and conceal the status quo

rather than bring unwanted attention to its design choices. CBOE also stuck with its flawed

process both because its privileged customer base was profiting from the ability to manipulate,

and because it wanted to avoid losing the prestige of publishing its figure alongside other

opening-market figures.

       F.      The VIX Franchise Was Created as a Crown Jewel Product Ahead of an
               Anticipated IPO

       175.    As discussed in the introduction to Section III above, CBOE’s drive to fully

monetize the entire VIX franchise that was behind this fraud. CBOE benefitted tremendously by

its decision to privilege liquidity providers by adopting an extreme replicability model.




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       176.       It merits emphasis that the earlier of these (still ongoing) decisions were made

when CBOE’s executives were focused almost exclusively on growing CBOE’s VIX franchise.

CBOE was obsessed with turning itself into a for-profit enterprise and taking itself public.

Multiple decisions were made to achieve these ends. These included the decisions, discussed in

Section I above, to market aggressively “to the world that CBOE is a vital necessity,” and to

continually ignore repeated and consistent signs of manipulation.

       177.       CBOE was highly motivated to move towards an IPO. Indeed, CBOE executives

had watched as the Chicago Mercantile Exchange (“CME”) insiders profited handsomely when

the CME went public in 2002, the first U.S. exchange to do so. The CME’s initial public

offering occurred in December 2002 at an initial offering price of $35 per share. But by

February 2006 it was around $80 per share, and by mid-2007 it was over $100 per share. At the

time of the IPO, the CME’s officers and directors held over 1.5 million shares.

       178.       CBOE executives watched as the same thing happened with the Chicago Board of

Trade (“CBOT”). CBOT was listed in October 2005, and stock was initially offered at $54.00

per share, but the stock soared to close at over $80 per share on the first day of trading.44 By the

end of October, shares were at $115, giving CBOT a market capitalization of more than $6

billion dollars.45 At the time of the IPO, CBOT’s officers and directors held almost half a

million shares.

       179.       CBOE was itching to follow in these footsteps. But CBOE was delayed because

of two hurdles: one legal and one economical.


       44
            Shares of CBOT Rise 49% in Debut, Los Angeles Times, (Oct. 20, 2005) available at
https://www.latimes.com/archives/la-xpm-2005-oct-20-fi-wrap20.1-story.html.
        45
            A Not-So-Black Monday For CBOT, Institutional Investor (Nov. 10, 2005) available
at https://www.institutionalinvestor.com/article/b150nmxlxnn6qw/a-not-so-black-monday-for-
cbot.



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       180.    On the legal side, CBOE needed to resolve a long-standing governance issue with

the members of CBOT. CBOE had originally been created by CBOT, and as a result all CBOT

members had rights and privileges in respect of CBOE. As early as 2005, CBOE had formed a

Business Model Task Force to help resolve the problem this presented in terms of turning the

company into a for-profit, publicly-traded entity.

       181.    The Task Force held 12 formal meetings beginning in February 2005. On

September 14, 2005, CBOE’s board of directors adopted the Task Force’s preliminary

recommendations and directed CBOE’s management to develop a detailed plan. Later that year,

management reported on its progress. In January 2006, CBOE’s board of directors adopted the

creation of a Strategy and Implementation Task Force (“SITF”), which had still-more formal

meetings and informal discussions.

       182.    All this culminated in the summer of 2006, when the SITF presented a set of

recommendations as to how to de-mutualize CBOE—that is, to disentangle CBOE from its

historic relationship with CBOT. Again, this was a necessary step in preparing to transition to a

for-profit, publicly traded entity. A lawsuit was filed to try to stop the demutualization plan from

going into effect. It was not until June 2008 that the lawsuit was resolved, and CBOE and CBOT

reached an agreement on how to disentangle the parties.

       183.    In parallel with clearing this legal hurdle, CBOE faced economic challenges—it

wanted to increase its revenues and profitability in order to maximize its IPO value. This

presented a challenge for CBOE because of regulations implemented in the early 2000’s that

required brokers to direct their orders to venues that displayed the best prices. These regulations

made it difficult for exchanges like CBOE to attract business for standardized products that were

already available across multiple trading venues. CBOE’s multiply listed options were losing




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earning potential due to the expanding number of options exchanges, which have grown from

five to fifteen. This made it important for CBOE to offer proprietary products which—unlike

generic products that can and sometimes must be traded at other exchanges—are listed or traded

at CBOE exclusively.

           184.   The best place for CBOE to mine for gold was through its exclusive licensing

relationship with Standard & Poor’s. This license already gave CBOE exclusive rights to list

SPX Options.46 Finding a way to increase interest in those options, as well as create a whole

new line of products based upon them, was key to maintaining and increasing profits. This was

true to such an extent that CBOE would eventually admit that losing CBOE’s “exclusive licenses

to list securities index options . . . granted to us by the owners of such indexes and based on

which we have developed our proprietary VIX methodology” was one of its two chief business

risks.47

           185.   What would become the VIX franchise was thus—if CBOE could make it

succeed—a way for CBOE to secure business that could not migrate elsewhere. CBOE

Chairman and CEO Edward T. Tilly confirmed the importance of the CBOE proprietary VIX

Product offerings on an earnings call on February 8, 2017. He stated that “CBOE’s proprietary

index and volatility market data, it is a unique offering, much more value [sic] than our

competitors because of primarily of the VIX and S&P.” On the same call, CBOE’s CFO Alan J.



           “We have the exclusive right to offer options contracts on the S&P 500 Index and the
           46

S&P 100 Index as a result of a licensing arrangement with S&P OPCO LLC (“S&P) . . . . We are
also authorized to use the S&P 500 Index and S&P 100 Index for the creation of CBOE volatility
indexes, such as the VIX Index, and tradable products on those volatility indexes.” CBOE,
Annual Report 2016, at 11 (emphasis added), https://www.cboe.com/framed/
pdfframed?content=/aboutcboe/annualreportarchive/annual-report-2016.pdf&section
=SEC_ABOUT_CBOE&title=CBOE+Annual+Report+2016.
        47
           Id. at 3, 26.



                                                 67
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Dean echoed these comments, adding: “I think there’s a lot of opportunity, a lot of ways we can

continue that growth from that VIX futures product which, as Ed said, was really designed for

the options traders and has turned out to be a homerun.”48

       186.    According to CBOE, VIX is “the premier benchmark for U.S. stock market

volatility” and a “homerun” product.49 CBOE’s main website features the VIX ticker before any

other. CBOE even named April 2018 as “VIX Month” to celebrate the 25th anniversary of VIX,

claiming “[t]he growth of VIX and volatility trading has been an amazing story.”50

       187.    As the following graph demonstrates, the market for VIX Options, VIX Futures,

and SPX Options has increased significantly in recent years, ballooning from just over $200

billion in 2006 to $1.6 trillion in 2016:




       48
            See February 8, 2017 CBOE Holdings, Inc. Call Transcript, https://www.sec.gov/
Archives/edgar/data/1374310/000110465917007806/a16-23690_24425.htm.
         49
            See White Paper, CBOE Volatility Index—VIX, Chicago Board Options Exchange, at
2, http://www.cboe.com/micro/vix/vixwhite.pdf; CBOE Holdings, Inc., Form S-4 (filed Feb. 8,
2017), https://www.sec.gov/Archives/edgar/data/1374310/000110465917007806/a16-
23690_24425.htm.
         50
            See CBOE Blog, CBOE Declares April VIX Month (Apr. 6, 2018),
http://www.cboe.com/blogs/options-hub/2018/04/06/cboe-declares-april-vix-month.



                                               68
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       188.    Because SPX Options, VIX Options, and VIX Futures are all proprietary to

CBOE—and thus are traded exclusively on CBOE’s exchanges—CBOE’s revenues from the

fees it collects on this trading have grown with the market. As a result, these three products are

now “cash cows” for CBOE, collectively generating over $400 million dollars in annual revenue

in 2017 and consistently representing about half of CBOE’s total revenues:51




       51
           For consistency of comparison, Plaintiffs have removed the effects of CBOE’s
unrelated acquisition of Bats Global Markets from the 2017 figures from the following two
charts.



                                                69
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       189.    CBOE has celebrated and encouraged this growth. For example, it has declared

that “2016 was our sixth consecutive year of record revenues and solid financial results, led by

record index trading, with new all-time highs in trading volume for our S&P 500 (SPX) options

and CBOE Volatility Index (VIX) futures.”52

       190.    Trading fees on these products have led CBOE’s revenue and profit streams in

recent years, fueled by vigorous marketing and promotion by CBOE officials. CBOE had

admitted that it is now “dependent” on these products for its continued success:

       In 2016, approximately 88.2% of our transaction fees were generated by our
       futures and index options, the overwhelming majority of which were generated by
       our exclusively-licensed products and products based on the VIX methodology.
       The bulk of this revenue is attributable to our S&P 500 Index options and VIX
       Index options and futures. As a result, our operating revenues are dependent in
       large part on the exclusive licenses we hold for these products and our ability to
       maintain our exclusive VIX methodology.53


       52
          CBOE, Annual Report 2016, at 7 (emphasis added), https://www.cboe.com/framed/
pdfframed?content=/aboutcboe/annualreportarchive/annual-report-2016.pdf&section=
SEC_ABOUT_CBOE&title=CBOE+Annual+Report+2016.
       53
          Id.



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       191.    On the back of this success, CBOE proceeded to its long-awaited IPO in June

2010. Those who recognized the potential of the VIX franchise in and around the IPO were not

disappointed. CBOE’s growing revenues from transaction fees also contributed to its growing

stock price. From mid-2010 to mid-2018, CBOE’s stock price increased over 300%.

       192.    An April 6, 2017 CBOE Notice of Proxy Meeting Statement reveals that CBOE’s

directors and officers collectively held over 2 million shares of CBOE common stock.54

       G.      CBOE’s Decision to Knowingly Design, List, and Promote the Flawed VIX
               and VIX Products Is Part of CBOE’s History of Prioritizing Its Profits Over
               Its Regulatory Responsibilities

       193.    This is not the first time CBOE wholly abandoned its regulatory role. To the

contrary, CBOE has recently been sanctioned for similar bad-faith failures.

       194.    Specifically, in 2013, CBOE settled charges brought by the SEC by paying a

penalty of $6 million and agreeing to “major remedial measures.” These penalties were imposed

after the SEC found that CBOE in 2008 and 2009 had failed to detect, investigate, and discipline

naked short selling in violation of Regulation SHO by one of its member firms, optionsXpress,

Inc. (“optionsXpress”).

       195.    As the SEC put it, there is a conflict of interest “between the regulation of [an

exchange’s] members and [the exchange’s] business interests,” and “[t]his matter concerns the

failure of a self-regulatory organization to police and control this conflict and prevent the

advancement of its business interests, and the interests of its member firms, ahead of its

regulatory obligations.”55


       54
             See CBOE Holdings, Inc. Notice of Annual Meeting of Stockholders,
http://ir.cboe.com/~/media/Files/ C/CBOE-IR-V2/documents/annual-proxy/2017-cboe-holdings-
proxystatement.pdf.
         55
            Release No. 69726, SEC (June 11, 2013), https://www.sec.gov/litigation/
admin/2013/34-69726.pdf.



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       196.    Specifically, the SEC found that “CBOE put the interests of [optionsXpress]

ahead of its regulatory obligations by failing to properly investigate [optionsXpress’s]

compliance with Regulation SHO and then interfering with the SEC investigation of

[optionsXpress].”56 Indeed:

       not only did CBOE fail to adequately detect violations and investigate and
       discipline [optionsXpress], but it also took misguided and unprecedented steps to
       assist [optionsXpress] when it became the subject of an SEC investigation in
       December 2009. CBOE failed to provide information to SEC staff when
       requested, and went so far as to assist [optionsXpress] by providing information
       for its Wells submission to the SEC. The CBOE actually edited [optionsXpress’s]
       draft submission, and some of the information and edits provided by CBOE were
       inaccurate and misleading.

       197.    More specifically, the SEC found:

       CBOE’s failures were not mere oversights or technical violations, but a systemic
       breakdown in several of its regulatory and compliance responsibilities as an
       exchange. Not only did it fail to enforce the Commission’s rules by not
       adequately investigating [optionsXpress’s] compliance with Regulation SHO of
       the Exchange Act (“Reg. SHO”), CBOE’s conduct also interfered with the
       Commission’s Division of Enforcement (“Enforcement Division”) staff’s Reg.
       SHO investigation of [optionsXpress]. This conduct was egregious. CBOE
       assisted [optionsXpress] by taking the unprecedented step of providing
       information for, and edits to, the [optionsXpress’s] Wells submission to the
       Commission—even more troubling, the information and edits provided by CBOE
       resulted in [optionsXpress] providing the Commission with inaccurate and
       misleading information. When questioned by Enforcement Division staff about
       the underlying matter, CBOE failed to disclose that it had assisted
       [optionsXpress] with its Wells submission. CBOE also failed to enforce Reg.
       SHO because it employed a Reg. SHO surveillance program that failed to detect a
       single violation, despite numerous red flags that its members engaged in violative
       conduct.

       CBOE’s failures cut across all aspects of its regulatory, business and exchange
       operations. In addition to failing to adequately enforce the Commission’s rules,
       CBOE failed to adequately enforce its own rules, including its firm quote and
       priority rules, as well as rules governing registration of persons associated with
       proprietary trading member firms. In addition, by making unauthorized
       “customer accommodations,” rebates, and other credits to certain member firms

       56
           Press Release No. 2013-107, SEC (June 11, 2013), https://www.sec.gov/news/press-
release/2013-2013-107htm.



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       and not others without an applicable rule in place that was consistent with the
       applicable statutory standards, CBOE failed to provide for the equitable allocation
       of fees and other charges and engaged in unfair discrimination between member
       firms. Furthermore, CBOE and C2 failed to file proposed rule changes or filed
       proposed rule changes long after, and in some instances years after, certain
       trading functions had been in effect. Lastly, CBOE failed to promptly furnish
       complete and accurate business records on a timely basis at Commission staff’s
       request.

       198.    The SEC further found that “CBOE demonstrated an overall inability to enforce

Reg. SHO with an ineffective surveillance program that failed to detect wrongdoing despite

numerous red flags that its members were engaged in abusive short selling. CBOE also fell short

in its regulatory and compliance responsibilities in several other areas during a four-year period.”

       199.    Much of the misconduct described in the SEC’s order occurred during 2009,

further evidencing the fact that—as with manipulation of the VIX—CBOE was cutting corners

and shirking its regulatory responsibilities as it sought to keep all of its customers (including its

manipulating customers) happy and the VIX profitable.

IV.    CBOE KNEW THAT THE FLAWS IN THE VIX AND VIX PRODUCTS WERE
       ROUTINELY BEING EXPLOITED

       A.      CBOE Had the Ways and Means Necessary to Know—and in Fact Knew—of
               the Manipulative Practices Described in this Complaint

       200.    CBOE established the methodology for calculating the VIX and the settlement

values of VIX Options and VIX Futures. CBOE was solely responsible for actually calculating

VIX settlement values, and for publishing the final settlement prices to the market. The prices,

in turn, determined how much money market participants (including the Doe Defendants) gained

or lost in holding VIX Options and VIX Futures on each settlement date.

       201.    As the administrator of SPX Options, VIX Options, VIX Futures, and the SOQ

process, CBOE had a front-row seat for every settlement—it could see exactly who was doing

what, when, and in what instruments. CBOE had access to all of the relevant data necessary to



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reveal the fact that manipulators were rigging the settlement values. Indeed, in 2010 CBOE

confirmed that it was monitoring the “bandwidth” (i.e., the volume of trades) used by its market

makers and floor brokers each month in exchange for selling them the “permits” required to hold

those positions. The more trades the market makers and brokers placed, the more CBOE

charged them for their permits.57 Through these or other similar monitoring capabilities, CBOE

viewed the data on the relevant settlement dates in real-time as part of its SOQ process and

therefore knew or recklessly disregarded that the Doe Defendants rigged the VIX settlement

values.

          202.   Rather than disclosing the fact of manipulation, CBOE affirmatively and

knowingly (or recklessly) published the wrong, manipulated prices to the market. Thus,

independent of CBOE’s misleading qualitative statements about the integrity of its VIX Options

and VIX Futures, CBOE knew or recklessly disregarded the fact that its quantification of the

VIX settlement value was materially misleading during the Class Period (defined below).

          203.   That the process has become more automated does not mean that CBOE was

ignorant of the manipulations. It had the data to review and had committees and departments

responsible for monitoring these products, such as the SPX Market Performance Committee, the

Business Conduct Committee, the Department of Market Regulation, the SPX Floor Procedure

Committee, the Risk Committee, and others. CBOE Vice President William Speth has

represented that “our regulatory group actively surveils for potential VIX settlement



          57
            CBOE Holdings, Inc. Form S-1 Registration Statement, Registration No. 333-165393
(May 18, 2010) at 53 (“CBOE currently anticipates initially charging $3,750 per month for
quoting and order entry bandwidth packets and $2,000 per month for order entry bandwidth
packets and also plans to discount these fees by 20% through the end of 2010.”)
http://otp.investis.com/generic/sec/sec-show.aspx?Type=pdf&haspdf=1&cik=
0001374310&FilingId=7267058.



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manipulation.”58 CBOE’s chief regulatory officer, Greg Hoogasian, assured the public that the

CBOE “has a dedicated regulatory department that works with FINRA to monitor certain trading

activity for our securities markets, including trading activity that could impact the VIX

settlement.”59

        204.     CBOE represented to the SEC and to the market, time and again, that it had in

place surveillance to detect, and actively monitor for, violations of exchange trading rules. For

example, in Forms 10-K throughout the relevant periods, CBOE reported in substantial form

that:

        In order to ensure market integrity, we extensively regulate and monitor our
        Trading Permit Holders trading activities. Providing effective regulation is
        important for attracting and retaining the confidence and participation of market-
        makers, broker-dealers and institutional and retail investors. We expend
        considerable time, financial resources and effort to ensure that the exchanges’
        rules and regulations conform to regulatory ‘best practices’ within the securities
        exchange industry and within the regulatory regime overseen by the SEC, our
        primary regulator. In order to support our efforts and those of our market
        participants to comply with applicable law and our option exchange rules, we
        have developed our own automated market surveillance systems to monitor
        market activity on our option exchanges and across U.S. options markets.60

        205.     CBOE likewise touted: “Our exchanges are responsible for assessing the

compliance of their TPHs with the respective exchange’s rules and the applicable rules of the

SEC and CFTC. The main activities that the exchanges, as applicable, are required to provide to

measure compliance with these rules include . . . surveillance designed to detect violations of




        58
             Saqib Iqbal Ahmed & John McCrank, Whistleblower alleges manipulation of Cboe
volatility index, Reuters (Feb. 13, 2018), https://uk.reuters.com/article/us-usa-stocks-volatility-
manipulation/whistleblower-alleges-manipulation-of-cboe-volatility-index-idUKKBN1FX0ES.
         59
             Elliot Blair Smith, How S&P 500 options may be used to manipulate VIX ‘fear
gauge’, MarketWatch (June 19, 2017), https://www.marketwatch.com/story/how-sp-500-
options-may-be-used-to-manipulate-vix-fear-gauge-2017-06-19.
         60
             See CBOE, Annual Report 2011.



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exchange trading rules” and “surveillance designed to detect violations of other SEC and CFTC

rules.”61

        206.   In these and related disclosures, CBOE assured investors that, among other things,

it could monitor and was monitoring the exact market activity alleged herein.

        B.     CBOE Knew the Doe Defendants Were Using Trading Techniques That
               CBOE Itself Publicly Recognized and Admitted Were Manipulative

        207.   CBOE has suspiciously decided to deploy enforcement efforts only against small

players and in isolated fashion, and often only with respect to less strategically important

products. However, even those actions belie any claim CBOE did not know of the Doe

Defendants’ manipulation. This is because Plaintiffs performed the same type of analyses CBOE

has claimed to have done to help ferret out manipulation, but found far more instances suggestive

of misconduct than CBOE has admitted.

        208.   Between July 2016 and January 2019, CBOE imposed small fines on three

financial institutions for manipulating or attempting to manipulate products offered by CBOE.

Notably, in each instance, CBOE waited until years after the relevant misconduct before making

any public announcement.

        209.   On July 12, 2016, CBOE fined Morgan Stanley $750,000 for “[effecting EEM

Option] transactions in a manner that failed to contribute to a fair and orderly market” in

November 2012.62 As evidence justifying the fine, CBOE pointed to an “order imbalance”

created by an attempt to “replicate a portion of the Index Desk’s expiring vega.”

        210.   On December 21, 2017, CBOE fined DRW $1.5 million for disruptive trading of

SPX Options and engaging in acts detrimental to the exchange from February 2014 through

        61
            See CBOE, Annual Report 2016.
        62
            CBOE Business Conduct Committee, In the Matter of Morgan Stanley & Co. LLC.
(Jul. 12, 2016).



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March 2015.63 As evidence justifying the fine, CBOE pointed to “safety bids,” as part of

“strategy orders,” being used to ensure “additional options series” were included in the

settlement calculation—that is, DRW had attempted to bridge a two-zero bid gap.

         211.    And on January 23, 2019, CBOE fined Akuna Securities LLC $1.28 million for

“acts detrimental to the Exchange” and “disruptive trading” between November 2016 and

November 2017, again referring to “strategy orders” as well as “minimum increment SPX option

orders” as part of an attempt to abuse the two-zero bid rule.64

         212.    Plaintiffs took note of what trading patterns CBOE itself apparently found

incriminating, and then uncovered nearly identical patterns in numerous other instances in

connection with the VIX.

         213.    Strategy orders replicating the sensitivity curve: The imbalance reports for the

VXEEM product during the period that led to a fine for DRW for manipulating that product

revealed the following pattern:




         63
              CBOE Business Conduct Committee, In the Matter of DRW Securities LLC (Dec. 27,
2017).
         64
              CBOE Business Conduct Committee, In the Matter of Akuna Securities LLC (Jan. 31,
2019).



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       214.    Using the VIX imbalance reports and the VIX settlement series published by

CBOE, Plaintiffs identified instances where strategy orders were placed in a way that resulted in

similar patterns.65 For example, the following two charts present instances of strategy orders

placed in a way that indicate huge trading in the most out-of-the-money SPX put options during

the SOQ process—a curved line spiking on the left, not only just like the one above for which

DRW was fined, but also just like the sensitivity curve discussed in Section II.B above:




       65
             For purposes of this analysis, Plaintiffs have classified an order as a “strategy order”
if (1) the strip covers more than 30% of the SPX settlement range, (2) more than 20% of prices
within a strip are updated as compared to the previous strip, and (3) for more than 25% of strikes,
the order sizes closely follow the VIX formula weighting.



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       215.    These are just two of many examples where the data follows the same pattern

CBOE itself has publicly admitted it can use to identify instances of misconduct.

       216.    Safety Bids: As CBOE described in its DRW penalty order, safety bids are a

means of “ensuring that certain option series [are] included in the final settlement calculations of

the SOQ” because they ensure that there are no “gaps” in the constituent option series as those

series become more and more out-of-the-money. Thus, safety bids avoid application of the two


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zero-bid rule. For example, the following chart shows a safety bid placed during the time

window that CBOE fined DRW for using safety bids to ensure that “the final settlement

calculation [for the near identical VXEEM benchmark] included additional options series in the

SOQ settlement calculation that otherwise would not have been included”:




       217.    To identify safety bids that resembled the kind for which DRW was fined,

Plaintiffs analyzed the VIX Imbalance Reports and Settlement Series data published by CBOE to

identify when and how often safety bids were used during the SOQ process. Within these data,

Plaintiffs looked for (1) price updates occurring within the same second, which (2) involved at

least 5 different strikes with $0.05 bid price, the minimum allowable bid price for SPX options,

and which (3) involved at least 5 different strikes with an order quantity of at least 1,000 orders.

       218.    The results of these studies again reveal that the practice of placing safety bids to

prevent application of the two zero-bid rule—which CBOE itself acknowledges is manipulative

when used within an SOQ process—routinely occurred in the VIX SOQ. For example, the

following two charts show safety bids being placed for high volumes of deeply out-of-the-money

SPX put options during the SOQ process on certain days in 2011 and 2016:



                                                 80
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       219.    All three charts show extremely high volumes of safety bid trades, for very out-

of-the-money put positions, with zero volume for trades at- or even close to at-the-money

positions. Together, these demonstrate that CBOE’s own VIX settlement data show that the VIX

SOQ was subject to the use of safety bids in the same way as CBOE has itself recognized as

manipulative in respect of another of its near-identically designed volatility benchmarks.

Notably, many of the instances where such safety bid abuses were found in the public data

coincide with indicia of strategy order abuses discussed above.

       220.    Tail Extensions: Like safety bids, tail extensions worked to ensure that “the final

VIX settlement values . . . included certain SPX options series that otherwise would not have




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been included due to the Zero Bid rule.”66 However, tail extensions operate not to fill gaps (of

two or more SPX Options series) so as to ensure other series are included, but instead to add

series to the very end so that the new series themselves are factored into the calculation.




       221.     Plaintiffs’ analyses demonstrate that the use of tail extensions bears a statistically

significant correlation with the degree of deviation in the VIX settlement price. In fact, the

average degree of deviation for the monthly VIX settlements where tail extensions were used

during the SOQ process is three times larger than for those monthly settlements were tail

extensions were not used. The difference is statistically significant.

       222.     Again, as with the strategy order and safety bid analyses described above, this

type of trading: (1) was made possible because CBOE deliberately designed the VIX and VIX

products in a flawed way that it knew could result in manipulation; (2) is a type of trading that

CBOE itself has acknowledged distorts the VIX SOQ process and constitutes manipulation, and

(3) is a type of trading that CBOE—better than anyone else —would have known was occurring

because it had all the relevant data and front row seats to the misconduct.


       66
             See, e.g., CBOE Business Conduct Committee, In the Matter of Akuna Sec. LLC (Jan
31, 2019).



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       C.      CBOE Was Aware of the Manipulation Because Its Rules and Regulatory
               Obligations Gave It an Obligation to Detect and Police Manipulation

       223.    As a “board of trade,” CBOE is required to “establish, monitor and enforce”

certain types of rules under Section 7 of the CEA. Among other provisions, the CEA provides

that boards of trade shall:

               a.      “establish, monitor, and enforce compliance with the rules of the contract

                       market, including . . . rules prohibiting abusive trade practices on the

                       contract market,” 7 U.S.C. § 7(d)(2)(A);

               b.      “have the capacity to detect, investigate, and apply appropriate sanctions

                       to any person that violates any rule of the contract market,” 7 U.S.C. §

                       7(d)(2)(A);

               c.      “list on the contract market only contracts that are not readily susceptible

                       to manipulation,” 7 U.S.C. § 7(d)(3); and

               d.      “have the capacity and responsibility to prevent manipulation, price

                       distortion, and disruptions of the delivery or cash-settlement process

                       through market surveillance, compliance, and enforcement practices and

                       procedures,” 7 U.S.C. § 7(d)(4).

       224.    Examples of CBOE’s rules include:

               a.      Requirements on “Market Makers,” “Registered Market Makers,” and

                       “Designated Primary Market Makers” to “contribute to the maintenance of

                       a fair and orderly market, and [not to] enter into transactions or make bids

                       or offers that are inconsistent with such a course of dealings.” Rule 8.7.

               b.      Requirements that trading permit holders cannot “effect or induce the

                       purchase, sale or exercise of any security for the purpose of creating or



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                        inducing a false, misleading, or artificial appearance of activity . . . or for

                        the purpose of unduly or improperly influencing the market price of such

                        security . . . or for the purpose of making a price which does not reflect the

                        true state of the market[.]” Rule 4.7.

                c.      “Neither a Trading Privilege Holder nor any of its Related Parties shall

                        engage or attempt to engage in any fraudulent act or engage or attempt to

                        engage in any scheme to defraud, deceive or trick, in connection with or

                        related to any trade on or other activity related to the Exchange or

                        Clearing Corporation.” Rule 601.

                d.      “Any manipulation of the market in any Contract is prohibited. Orders

                        entered into the CFE System for the purpose of generating unnecessary

                        volatility or creating a condition in which prices do not or will not reflect

                        fair market values are prohibited and any Trading Privilege Holder

                        (including its respective Related Parties) who makes or assists in entering

                        any such Order with knowledge of the purpose thereof or who, with such

                        knowledge, in any way assists in carrying out any plan or scheme for the

                        entering of any such Order, shall be deemed to have engaged in an act

                        detrimental to the Exchange.” Rule 603.

        225.    CBOE’s knowledge or reckless disregard for the truth is supported by the

existence of many such rules. Such rules serve as further indications of the importance to

signaling (falsely) to the market that CBOE’s proprietary products were trustworthy products.

They also serve as further indicators that CBOE had—or, was reckless not to have—processes in

place to tell it that its products were anything but.




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       D.      CBOE’s Denials of the VIX Products’ Flaws and Manipulation Ring Hollow,
               Particularly as CBOE Eventually Tried to Fix the Problems It Disclaimed

       226.    In response to the Griffin and Shams paper, CBOE “vehemently denied the

paper’s conclusions,” saying that the authors “didn’t consider the full range of possible reasons

other than manipulation that could explain the moves they observed.”67 CBOE’s chief regulatory

officer, Greg Hoogasian, assured the public that the CBOE “has a dedicated regulatory

department that works with FINRA to monitor certain trading activity for our securities markets,

including trading activity that could impact the VIX settlement.”68 With regard to the integrity

of the VIX itself, CBOE officials said the VIX is a “transparent, closely regulated, and highly

reliable gauge of market sentiment with no history of failure.”69

       227.    CBOE similarly issued public denials of the whistleblower letter sent to the SEC

and CFTC. CBOE Vice President Speth said that the whistleblower’s letter contains “a lot of

mistakes and a lot of misconceptions” and reinforced the integrity of the entire VIX settlement

process: “There are structural safeguards built into the process of the calculation of the VIX

settlement value that would hinder the type of manipulation the letter alleges. Our regulatory

group actively surveils for potential VIX settlement manipulation.”70




       67
             Nick Baker & Cecile Vannucci, What If Somebody Really Is Gaming the VIX?,
Bloomberg (Feb. 13, 2018), https://www.bloomberg.com/news/articles/2018-02-14/billions-in-
vix-rigging-profits-a-battered-index-takes-new-hit.
         68
             Elliot Blair Smith, How S&P 500 options may be used to manipulate VIX ‘fear
gauge’, MarketWatch (June 19, 2017), https://www.marketwatch.com/story/how-sp-500-
options-may-be-used-to-manipulate-vix-fear-gauge-2017-06-19.
         69
             Id. (emphasis added).
         70
             Saqib Iqbal Ahmed & John McCrank, Whistleblower alleges manipulation of Cboe
volatility index, Reuters (Feb. 13, 2018), https://uk.reuters.com/article/us-usa-stocks-volatility-
manipulation/whistleblower-alleges-manipulation-of-cboe-volatility-index-idUKKBN1FX0ES.



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       228.    Nonetheless, faced with mounting allegations of manipulation and increasing

public scrutiny of the SOQ process, CBOE CEO Tilly admitted that CBOE was seeking to

“enhance” the VIX settlement process and to attract more liquidity to the settlement auction.

       229.    In June 2018, Bloomberg reported that CBOE had made changes so that it “now

offers more and faster data to market participants about the evolution of the monthly auction”

and that “its recent migration to a hybridization trading platform is also designed to help elicit

more bids and offers from market makers.”71

       230.    These changes were reported as being “designed to lure more participation to the

monthly auction, which in particular has come under fire for being antiquated and prone to

spitting out unusual results,” and to “boost[] the number of times the exchange sends signals to

traders pertaining to S&P 500 options orders to encourage participation in the auction and

responses to buy and sell orders.”72

       231.    On September 19, 2018, it was further reported that, “hard pressed to quash

allegations its popular ‘fear gauge’ is being manipulated,” with its stock down about 15 percent,

“CBOE is working with FINRA, its regulatory services provider, to develop machine learning

techniques to tell whether market conditions surrounding the VIX settlement are potentially




       71
           Bloomberg, CBOE Finds More Ways to Fix the VIX, Builds on Prior Tweaks (June
20, 2018), https://www.bloomberg.com/news/articles/2018-06-20/cboe-reveals-more-ways-to-
fix-the-vix-after-first-tweaks-helped.
        72
           Financial News, In a Year of Controversy, Cboe Seeks to Improve the VIX (June 20,
2018), https://www.fnlondon.com/articles/in-a-year-of-controversy-cboe-seeks-to-improve-the-
vix-20180620.



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anomalous.” “Cboe declined to elaborate on when it began using machine learning techniques to

monitor VIX settlements.”73

       232.     These belated attempts are further evidence that the SOQ process—based on the

manipulated trading of illiquid SPX Options—was fundamentally flawed and in need of reform.

       E.       CBOE Has Admitted to Knowing That the VIX Products and Related
                Products Were Being Manipulated

       233.     The problems identified herein were systemic. CBOE did nothing to address or

prevent those routine problems from occurring. However, when the problems became so

apparent not even CBOE could deny them anymore, it took some token actions in certain limited

instances in addition to those described in Section IV.B above. These instances confirm CBOE’s

ability to identify manipulative acts and its knowledge that manipulation of VIX products was

taking place.

                a.     On August 10, 2015, CBOE fined Ronin Capital $175,000 and ordered

                       disgorgement of $128,000 for violating CBOE rules prohibiting strategy

                       orders after 8:15 a.m.

                b.     On September 24, 2012, CBOE censured Morgan Stanley and fined it

                       $20,000 for violating CBOE rules prohibiting the entry of VIX future-

                       related strategy orders after 8:15 a.m. and for failing to supervise its

                       employees to ensure compliance with the rules.

                c.     On April 12, 2012, CBOE fined Sparta Group and a former trader,

                       Andrew Smyth, $50,000 and suspended Mr. Smyth’s trading permissions



       73
            Reuters, CBOE Exchange turns to machines to police its ‘fear gauge’, (Sept. 19,
2018), https://www.reuters.com/article/us-cboe-vix/cboe-exchange-turns-to-machines-to-police-
its-fear-gauge-idUSKCN1M00HX.



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                       for two weeks for violating various CBOE rules, including conduct

                       concerning VIX Options.

               d.      On August 17, 2010, CBOE censured Ivan Tchorbadjiyski, fined him

                       $25,000, and suspended his trading permissions for two weeks for

                       violating various CBOE rules, including conduct concerning VIX Options.

               e.      On August 13, 2010, CBOE censured Steven Berman, fined him $50,000,

                       and suspended his trading permissions for three weeks for violating

                       various CBOE rules, including conduct concerning VIX Options.74

V.     PLAINTIFFS AND MEMBERS OF THE CLASS WERE HARMED BY
       DEFENDANTS’ MISCONDUCT

       A.      CBOE Repeatedly and Misleadingly Assured Investors That Its VIX
               Products Accurately Measured and Reflected Market Volatility, When in
               Fact They Did Not

       234.    CBOE has long promoted VIX Options and VIX Futures as an accurate and

reliable means for investors to take positions on market volatility. As of the date of filing, for

example, CBOE’s website promoted both VIX Options and VIX Futures for a variety of

purposes, ranging from speculation, to risk management, to portfolio diversification, to

hedging:75




       74
            See also In re Wolverine Execution Servs. LLC, File No. 15-0100 (Dec. 29, 2015)
(censuring Wolverine and imposing $50,000 fine for submitting SPX option strategy orders after
the cut-off time, and for failing to supervise and prevent the violations),
https://www.cboe.com/publish/DisDecision/15-0100.pdf; In re Wolverine Execution Servs. LLC,
File No. 14-0161 (Feb. 12, 2015) (censuring Wolverine and imposing $15,000 fine for
submitting SPX strategy order after the cut-off time), http://www.cboedirect.com/
publish/DisDecision/14-0161%20(WEX).pdf.
        75
           CBOE, Turn Volatility To Your Advantage, http://insight.cboe.com/vix/.



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       235.    Indeed, through its website, CBOE expressly represents VIX Options and VIX

Futures as a means for investors to protect themselves against adverse market moves, to cabin or

reduce their risk, and to achieve efficient investment returns:




       236.    CBOE has promoted VIX Options and VIX Futures in this way for years, even as

it has changed how it offers them. For example, when CBOE moved from offering VIX Options

and VIX Futures with only monthly expiries to offering them with weekly expiries in 2015, it

touted this change as allowing “more opportunities” for “more targeted” use of the products to

reduce risk or for investment:




       237.    Through the fact sheets that it published for its VIX products, CBOE stressed that

the VIX index was “a leading measure of market expectations of near-term volatility.”76 CBOE

also stressed that “[t]he addition of weekly expirations to standard monthly features and options

expirations offers volatility exposures that more precisely track the performance of the VIX



       76
          Cboe, VIX Futures and Options (2018, v 1.2), http://www.cboe.com/micro/vix
/pdf/vix-fut-and-options-cboe-vix-fact-sheet.pdf.



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Index.”77 Similarly, CBOE emphasized that “[w]ith the launch of VIX Futures at Cboe Futures

Exchange (CFE) in 2004 and VIX Options at Cboe in 2006, there has been a growing acceptance

of trading VIX and VIX-linked products as risk management tools.”78

       238.    All of these representations to the market regarding the accuracy and reliability of

VIX Options and VIX Futures as trading and investment products were part of CBOE’s

concerted efforts to grow its VIX franchise to increased profitability.

       239.    In 2007, CBOE engaged in a “new branding campaign” through which it wanted

to “communicat[e] to the world that CBOE is a vital necessity in the options marketplace for

which there is no substitute.”79 By 2012, CBOE was marketing its creation of weekly expiring

VIX Options as allowing investors “targeted trading strategies around market news and

events.”80

       240.    In essence, CBOE stoked demand for its products throughout its advertising,

marketing campaigns, web and print product descriptions, annual reports, and elsewhere, while

disguising the reality that its desire for fees and commercial self-interest had undermined the

integrity of the VIX derivative market.

       241.    With CBOE’s assurances to the market that CBOE’s VIX Options and VIX

Futures products were fair and orderly, investors have poured billions of dollars into them. They

did so believing that the prices at which they bought, sold, and settled those products were



       77
          Id. at 2.
       78
          Id. at 2.
       79
          CBOE, Annual Report 2006, at 3, http://www.cboe.com/framed/pdfframed?content=/
aboutcboe/annualreportarchive/annualreport2006.pdf&section=SEC_ABOUT_CBOE&title=Cbo
e+Annual+Report+2006.
       80
          CBOE, Annual Report 2012, at 4, http://www.cboe.com/framed/pdfframed?content=/
aboutcboe/annualreportarchive/annualreport2012.pdf&section=SEC_ABOUT_CBOE&title=Cbo
e+Annual+Report+2012.



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determined by natural market forces of supply and demand—not rigged by manipulators who

CBOE enabled to game the obscure VIX settlement process. Similarly, investors traded SPX

Options, and VIX ETPs, believing that prices for these products were also determined by natural

market forces.

       242.      Plaintiffs and Class members were thus harmed because they were transacting in

products that were not the result of regular forces of supply and demand. Rather, Plaintiffs and

members of the class were tricked into trading SPX Options, VIX Options, VIX Futures, and

VIX ETPs that were mispriced due to CBOE or settled at manipulated prices due to CBOE and

the John Doe Defendants’ manipulative conduct. As a result, class members were forced to pay

more for (or accept less from) these products than they would have in a fair and orderly market.

       243.      Plaintiffs and Class members relied upon the fairness of the VIX SOQ process,

including, for example, when they accepted CBOE’s calculations for the cash settlement of their

VIX Options and VIX Futures. They would not have done so if they had known CBOE’s

calculations were the product of a manipulated process.

       244.      Plaintiffs and Class members are entitled to a presumption of reliance under

Affiliated Ute Citizens of Utah v. U.S., 406 U.S. 128 (1972), because the claims asserted herein

against Defendants are predicated in part upon material omissions of fact (e.g., the manipulation

of the SOQ settlement process) that Defendants had a duty to disclose.

       245.      In the alternative, Plaintiffs and Class members are entitled to a presumption of

reliance pursuant to the fraud-on-the-market doctrine. Throughout the Class Period, Plaintiffs

and the Class relied upon an assumption of an efficient market free of manipulation. Investors

believed they were trading in competitive markets where prices were driven by supply and

demand and were not tainted by manipulation.




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       B.      Plaintiffs Were Harmed by Identified Instances of Manipulation When They
               Held VIX Products to Settlement on Manipulation Days

       246.    A simple way to show named Plaintiffs were actually impacted would be to

determine whether an act of SOQ manipulation on a specific day caused harm to instruments

held to settlement that same day. Plaintiffs did this, by using the “deviation” concept discussed

above.81 This analysis determined whether the VIX settlement process resulted in a value that

was statistically significantly higher or lower than the value of the VIX when the market opened

immediately upon conclusion of the VIX settlement process. This showed whether and in what

direction a given SOQ process was manipulated.

       247.    Class members who held VIX Options and VIX Futures through to settlement

were harmed under this measure of deviation because VIX Options and VIX Futures cash-settle

based on the SOQ settlement process. The manipulation of the SOQ process thus directly

impacted whether and how much class members would be paid. The manipulation also pushed

some VIX Options and VIX Futures into the money when they would have otherwise expired out

of the money, and pushed some VIX Options and VIX Futures out of the money when they

would have otherwise expired in the money.

       248.    For those named Plaintiffs who held a relevant VIX Product through to cash

settlement on a day when the SOQ process was manipulated, it was thus possible to use this



       81
            More specifically, this measure of deviation takes the difference between the VIX
settlement price and the market open intraday VIX price on a given settlement day, only if the
amount of that difference cannot be explained by prices throughout the remainder of that day.
This analysis only flagged a given SOQ process as artificial if it was found with a 99.9%
confidence level that the degree of price deviation shown cannot be explained by the volatility
during the remainder of that day. Plaintiffs also tested for harm on settlement using the measure
of deviation discussed in the lasting impact Section below. This additional analysis found that
the Plaintiffs named in this Section V.B below were similarly harmed on their VIX products held
to settlement.



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measure of deviation to determine whether those Plaintiffs were on the losing side of the

artificiality caused by the manipulation.

        249.   Plaintiff Richard S. Aaron held multiple long VIX put option positions to

expiration on dates during the Class Period where the above methodology confirms he was

forced to pay more (or accept less) in settlement due to manipulation occurring that day.

Examples include, but are not limited to, the settlements on January 18, 2017, and October 18,

2017.

        250.   Plaintiff Spencer Bueno held VIX Options positions to expiration on dates during

the Class Period where the second methodology discussed in footnote 81 confirms he was forced

to pay more (or accept less) in settlement due to manipulation occurring that day. Examples

include, but are not limited to, the settlement on August 19, 2015.

        251.   Plaintiff Victor Choa held multiple long and short VIX Futures positions to

expiration on dates during the Class Period where the above methodology confirms he was

forced to pay more (or accept less) in settlement due to manipulation occurring that day.

Examples include, but are not limited to, the settlements on April 19, 2017; July 19, 2017;

August 16, 2017; and January 17, 2018.

        252.   Plaintiff FTC Capital held multiple long VIX Futures positions to expiration on

dates during the Class Period where the above methodology confirms it was forced to pay more

(or accept less) in settlement due to manipulation occurring that day. Examples include, but are

not limited to, the settlement on August 22, 2012.

        253.   Plaintiff Amy Huang held multiple put and call VIX Option positions to

expiration on dates during the Class Period where the above methodology confirms she was

forced to pay more (or accept less) in settlement due to manipulation occurring that day.




                                                93
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Examples include, but are not limited to, the settlements on March 21, 2012; August 22, 2012;

February 13, 2013; March 20, 2013; May 22, 2013; June 22, 2013; July 17, 2013; August 21,

2013; November 20, 2013; April 16, 2014; and August 20, 2014.

       254.    Plaintiff LRI Invest held multiple short VIX Future positions to expiration on

dates during the Class Period where the above methodology confirms it was forced to pay more

(or accept less) in settlement due to manipulation occurring that day. Examples include, but are

not limited to, the settlement on July 19, 2017.

       255.    If one presumes that the impact of SOQ manipulation is confined to a tight

window of time around the SOQ process—which, Plaintiffs do not believe is the case—then the

above Plaintiffs were indisputably harmed. This is because, if there is no lasting impact from

SOQ manipulation, then there was no price artificiality when Plaintiffs purchased their

instruments; the only impact was at the time of settlement. These Plaintiffs thus were harmed

even if one applies a “netting” analysis to these transactions (which Plaintiffs do not believe is

required) as there would have been no gains at the time they purchased their VIX Options or

VIX Futures against which to “net” their losses at the time they settled those products.

       C.      Plaintiffs Were Harmed by the Lasting Impact of Identified Instances of
               Manipulation

               1.      Defendants’ fraudulent conduct had a lasting impact on prices

       256.    The process discussed in Section V.B does not in fact capture all of the harm

caused by the fraudulent and manipulative acts at issue. This is because—as recognized by the

academic literature and Plaintiffs’ statistical analyses—it is inappropriate to presume that there is

no lasting impact from an attempt to “bang the close” in the SOQ process.

       257.    Instead, an extensive body of accepted academic literature recognizes that trades

(and offers to trade) in financial instruments have a lasting (sometimes, permanent) impact on



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prices of those instruments. In an efficient market, the prices attached to such trades and offers

to trade are presumed to reflect all material information. This is often referred to as the “market

efficiency hypothesis.” Malkiel and Fama (1970) concluded in their review of the hypothesis

that “in short, the evidence in support of the efficient markets model is extensive and (somewhat

uniquely in economics) contradictory evidence is sparse.”82

       258.    Academic literature, in a field concerned with what are known as “market

microstructure models,” builds on the theory of informed trading to show that trades of financial

instruments have a lasting impact on prices. For example, O’Hara has summarized the key

insights of the market microstructure model as follows: “In their canonical form, such models

rely on a basic story: some traders have private information and they trade on it; other traders

see market data and they learn from it; and market prices adjust to efficient levels that reflect the

information.”83

       259.    Pursuant to these well-recognized economic theories, buy orders tend to drive

prices up, and sell orders tend to drive prices down, even beyond their temporary impact on

availability. This understanding—that trades have permanent price impact—has been the subject

of widespread theoretical agreement and empirical confirmation since the beginning of the

market microstructure literature.84 The fact that trades will impact prices also makes possible



       82
           Burton G. Malkiel & Eugene F. Fama, Efficient Capital Markets: A Review Of
Theory and Empirical Work, The Journal of Finance, 25(2), 383-417 (1970).
        83
           Maureen O’Hara, High Frequent Market Microstructure, Journal of Financial
Economics, 116 (2), 257-270 (2015).
        84
           For example, Lawrence Glosten and Paul Milgrom, Bid, Ask and Transaction Prices
In a Specialist Market With Heterogeneously Informed Traders, 14 J. of Financial Econ. 71
(1985), concluded that trades can have permanent price impact. In technical terms, Glosten-
Milgrom’s model shows that prices changes are not autocorrelated, and that prices are a
“martingale.” This means that a trade moves prices, and conditional on all trades up to a given
time, the best forecast of future prices is the current price. This is another way of saying that the



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manipulative trading strategies, i.e., trading strategies that are intended to, and have the effect of,

causing prices to diverge from their competitive values that accurately reflect information

available at a particular point in time, as alleged in this case. For instance, Professor Craig

Pirrong, in The Economics of Commodity Market Manipulation, 5 J. of Commodity Markets

(2017) 1, reviews the literature on trade-based manipulation and presents empirical evidence

related to alleged “bang the settlement” manipulation by a trading firm.85

       260.    Plaintiffs’ economists have drawn upon the efficient market and market

microstructure literature to construct a model that measures the temporary and lasting impact of

manipulative trades on the SOQ price and the VIX, using four steps.

       261.    Step one is the identification of SOQ processes that were manipulated. Any one

or a combination of the “screens” discussed above in Section II could have been used to do so,

since they each demonstrate that manipulation was taking place. However, in order to more

consistently compare results across the different types of tests discussed above, Plaintiffs focused

on certain screens that covered both monthly and weekly settlements. To be conservative, for

purposes of this Section, Plaintiffs required a SOQ process show signs of manipulation across all




information remains in the price. Similar results are shown in the other seminal theoretical
microstructure paper, Albert S. Kyle, Continuous Auctions and Insider Trading, 53
Econometrica 1315 (1985), and the extension of the Kyle model to continuous time, Kerry Back,
Insider Trading in Continuous Time, 5 Rev. of Fin. Stud. 387 (1992). The empirical literature
focuses on quantifying the relative contribution of these components, but has reached a
consensus as to the existence of the lasting impact.
        85
            By way of other examples, Praveen Kumar and Duane Seppi, Futures Manipulation
With Cash Settlement, 47 J. of Fin. (1992) 1485, modeled how a manipulator can profit from
manipulation given the existence of both temporary and lasting impacts from manipulative
trading activity. And Carole Comerton-Forde and Talis J. Putnins, Measuring Closing Price
Manipulation, 20 J. of Financial Intermediation (2011) 135, presents empirical evidence on the
price effects of 184 manipulations of the closing prices on US and Canadian stock exchanges.



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three screens, as well as in the “deviation” test below, before it was treated as a manipulation

event.86

       262.    Step two is to determine the initial size of the impact—or the “temporary

impact”—from the fraudulent manipulation. This is where the impact of the manipulation is at

its maximum. The temporary impact is measured as the difference between the intraday VIX

immediately before and after the VIX SOQ settlement window. However, Plaintiffs also

employed a “control” which ensures that what is being captured is only the temporary impact

caused by the manipulation of the SOQ process, and not movement in response to some

contemporaneous market event.87

       263.    Step three is to calculate the degree of price impact (after being subject to the

control) that has lasting effect. As discussed above, the academic literature holds that there is a

longer-lasting—and not merely temporary—impact from manipulative events. Plaintiffs’ experts

thus employed an autoregression model to determine how long the manipulation had an impact

on the VIX. The initial size of the measured impact was decayed over time, though consistent

with the academic literature it only approached but never fully reached zero.




       86
           Specifically, the three “screens” Plaintiffs used for purposes of this analysis involved
determinations of whether: (1) the ratio between trading volumes of put and call SPX options
during a given SOQ process and determines exceeds the same ratio during the remainder of the
same trading day; (2) there was a negative correlation between the trading volume of SPX put
options and the moneyness of SPX put options; and (3) there is increased trading volume on out-
of-the-money SPX Options that have large gaps between the series of strike prices. All of these
analyses are described in more detail above. See, e.g., Section II at ¶¶ 97, 106 & 112.
        87
           Plaintiffs used the CBOE S&P100 Volatility Index (the “VXO”) as a control to adjust
the temporary impact amount because: (1) there is no SOQ mechanism in VXO’s calculation,
and therefore it is not likely to be affected by similar manipulation; (2) VXO is calculated based
on the Black-Scholes implied volatility of S&P 100 options and not the prices of S&P 500
options, and therefore is unlikely to be affected by manipulation of the prices of SPX options;
and (3) VIX and VXO are typically highly correlated on an intraday level.



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       264.    The fourth step is to chart out over time the level of artificiality for multiple

manipulation events to build an artificiality “ribbon.” Each new manipulation moves the line

more positive or more negative, depending on the direction of artificiality. The degree of

artificiality then tends towards zero as the impact of all past manipulation events decay—unless

and until, of course, a new manipulation event occurs. The important thing here is that at any

given time, the level of artificiality is not merely that caused by the very last manipulation event.

Rather, it is the result of the cumulative impact of all prior manipulation events, after taking into

account the degradation of that impact over time.

       265.    For example, if one were to be overly conservative and demand that only those

settlements that had indicia of being manipulated according to all three of the “screens” and

show “diversion” would count as a “manipulation event,” the level of artificiality at any point

would look like this:88




       88
            This example ribbon commences at 2010 because that is the first date at which the
data for all four of the tests discussed in this section are all available. The ribbon as filtered
through fewer (or different) screens, or with data in CBOE’s control, can be run for a longer time
period.



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               2.      Lasting impact of the fraudulent manipulation was felt in all relevant
                       instruments

       266.    The above analyses speak in terms of the artificiality of the VIX itself and the

VIX SOQ settlement price. To be clear, however, the measured, lasting level of artificiality

applied to all VIX-related products, not just those held to settlement.

       267.    The fair value of a futures contract can be calculated as the sum of spot prices.

This implies that futures and spot prices should be highly correlated in efficient markets. It also

implies that a shock to the spot price of an underlying asset will affect futures prices in the same

direction.89 Indeed, several authors have modeled the relationship between VIX Futures and

VIX spot prices and found results consistent with this theory.90 Plaintiffs’ experts adapted Frijns


       89
            Chartered Institute for Securities and Investments, Derivatives 77 (2013).
       90
            Shu and Zhang (2012) find a statistically causal relationship from changes in the VIX
spot prices to changes in VIX futures prices using end of the day data, see Jinghong Shu & Jin E.
Zhang, Working Paper, University of Auckland, Causality In The VIX Futures Market Journal of
Futures Markets 32(1), 24-46 (2012), while Frijns et al. find that this relationship also holds on



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et al.’s approach and built a time series model using hourly intraday VIX data from 2012 to

2018. Plaintiffs’ experts then tested whether changes in the VIX spot price “Granger-cause”

changes in the VIX Futures price.91 The results demonstrate movements in the VIX are

correlated with movements in VIX Futures, as one would expect.

       268.    VIX Options are priced based on a curve of expected, future values for the VIX

index. This can be inferred from VIX Futures prices because the price of a VIX Future expiring

in N months’ time serves as a proxy for the market’s expectation for the VIX index in N months’

time, which thus serves as a suitable substitute for pricing a VIX Option expiring in N months’

time. Given that an analysis of Granger causality shows that VIX Futures move with changes in

the VIX itself, it is therefore not surprising that the prices of VIX Options also move similarly

across tenors in response to movements in the VIX itself. Given it generally holds true that the

price of an option will increase/decrease when the implied volatility of the underlying asset

increases/decreases, and given the VIX is a measurement of the implied volatility of SPX

Options, anyone who traded in SPX Options will also have been harmed by movement of the

VIX.

       269.    Lastly, class members who transacted in VIX ETPs were also harmed by

movement in the price of the VIX because such products derive their value from movements in

VIX, VIX Futures, VIX Options, and/or SPX Options. For example, the iPath S&P 500 VIX

Short-Term Futures ETN (symbol “VXX”) is “designed to provide investors with exposure to



an intraday level. See Frijns, et al., On The Intraday Relation Between VIX And Its Futures
(2016), https://papers.ssrn.com/sol3/papers.cfm?abstract_id=2387877.
        91
            Granger Causality is a well-established statistical measure of how well changes in one
time series “explain” another. Plaintiffs’ experts ran their tests separately first for each year in
the data, and then—to be extra conservative—for each day in the data. This required running
approximately 1,500 regressions for the daily models.



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  one or more maturities of futures contracts on the CBOE Volatility Index.”92 As such, the

  overall value of the VXX, and the value of any notes held in the VXX, was directly impacted by

  movements in the price of VIX Futures contracts. Other VIX ETPs were similarly directly

  impacted depending on their composition (i.e., the VIX products on which they were based) and

  their orientation (i.e., whether they were designed to be positively or inversely orientated to the

  value of the products on which they were based).

         270.    In sum, the correlation between manipulative inflation or suppression of the VIX,

  and the harm to named Plaintiffs and the class given their various postures in respect of the VIX

  products and related instrument, is as follows:93

                    HARMED ON SETTLEMENT                       HARMED ON TRANSACTION
VIX Futures     Long positions of VIX futures on            Purchases of VIX futures on days when
                settlement days when the VIX was            the VIX was inflated.
                suppressed.
                                                            Sales of VIX futures on days when the
                Short positions of VIX futures on           VIX was suppressed.
                settlement days when the VIX was
                inflated.
VIX Options     Long positions of call VIX options on       Purchases of call VIX options on days
                settlement days when the VIX was            when the VIX was inflated.
                suppressed.
                                                            Sales of call VIX options on days when
                Short positions of call VIX options on      the VIX was suppressed.
                settlement days when the VIX was
                inflated.                                   Purchases of put VIX options on days
                                                            when the VIX was suppressed.
                Long positions of put VIX options on
                settlement days when the VIX was            Sales of put VIX options on days when

         92
             iPath® Series B S&P 500® VIX Short-Term Futures ETN Pricing Supplement to
  Prospectus dated March 30, 2018, at 1 (May 2, 2019), http://www.ipathetn.com/US/16
  /en/documentation.app?instrumentId=341408&documentId=6683317.
          93
             Note that, if a held-to-settlement options position was out-of-the-money in both the
  actual and but-for world there will be no held-to-settlement damages. Rather, this table applies
  only to held-to-settlement damages in respect of an options position where: (1) the manipulation
  has changed the moneyness of the position, and (2) the position was in-the-money in the but-for
  world.



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                inflated.                                 the VIX was inflated.

                Short positions of put VIX options on
                settlement days when the VIX was
                suppressed.




SPX Options     Inapplicable.                             Purchases of SPX options on days when
                                                          the VIX was inflated.

                                                          Sales of SPX options on days when the
                                                          VIX was suppressed.
ETPs            Inapplicable.                             Purchasers of shares or notes in
                                                          positively orientated ETPs on days when
                                                          VIX was inflated.

                                                          Sellers of shares or notes in positively
                                                          orientated ETPs on days when VIX was
                                                          suppressed.

                                                          Purchasers of shares or notes in
                                                          negatively orientated ETPs on days
                                                          when VIX was suppressed.

                                                          Sellers of shares or notes in negatively
                                                          orientated ETPs on days when VIX was
                                                          inflated.

         271.    Accordingly, Plaintiffs and class members were harmed by manipulation of the

  VIX SOQ process because they were forced to pay more for (or to accept less from) these

  products on settlement, or to pay more for (or to accept less from) these products when they

  bought or sold them, than they would have in a fair and orderly market. As discussed in Section

  V.D.4 below, Plaintiffs here were harmed in this way even assuming that they have to take into

  account the impact of the manipulation on both legs of a given transaction.




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               3.      Application of Plaintiffs’ impact analyses to Plaintiffs’ trading data
                       confirms they were harmed by the lasting impact of the manipulation

       272.    As discussed in Section V.B above, certain Plaintiffs were harmed when they held

certain instruments through settlement, based on identified manipulative activity during that

day’s SOQ process. Plaintiffs also analyzed their VIX products held through settlement, and

confirmed they were harmed even if one applies the cumulative level of artificiality calculated

from the process above, rather than just from the manipulation of a single SOQ process.94

       273.    In addition, for the reasons set forth above, Plaintiffs and Class members who did

not hold their instruments through to expiration were harmed because prices for VIX products

and SPX Options were artificial even outside of the settlement window.

       274.    Applying the lasting-impact “ribbon” to the Plaintiffs’ transactions allows these

harms to be captured as well. For instance, those who bought VIX products and SPX Options

when prices were still “too high,” or who sold VIX products and SPX Options when prices were

still “too low,” paid an artificial price and were thereby harmed.

       275.    In particular, using the above methodologies, and on the basis of the damages

chart set out at paragraph 270 above, Plaintiffs have confirmed this additional harm as follows:

       276.    Plaintiff Richard S. Aaron traded multiple VIX Options on dates during the Class

Period at times when prices were artificial in a way that caused him harm—that is, he bought for

more or sold for less (or both) than he otherwise would have. Examples include, but are not

limited to, trades on January 31, 2014, September 22, 2016; September 27, 2016; October 3,

2016; October 26, 2016; October 28, 2016; November 10, 2016; November 25, 2016; December


       94
           Examples include the VIX Futures settled by Victor Choa on July 19, 2017, and the
VIX Options settled by Mr. Choa on December 30, 2015; the VIX Futures settled by FTC
Capital on August 22, 2012; the VIX Options settled by Amy Huang on August 22, 2012 and
February 13, 2013; and the VIX Futures settled by LRI Invest on July 19, 2017.



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1, 2016; December 7, 2016; December 19, 2016; December 21, 2016, December 20, 2017, and

hundreds of other trades on other dates.

       277.    Plaintiff Spencer Bueno traded multiple SPX Options on dates during the Class

Period at times when prices were artificial in a way that caused him harm—that is, he bought for

more or sold for less (or both) than he otherwise would have. Examples include, but are not

limited to, trades on March 15, 2017; March 27, 2017; and April 13, 2017. Mr. Bueno also

traded multiple VIX Options on dates during the Class Period at times when prices were artificial

in a way that caused him harm—that is, he bought for more or sold for less (or both) than he

otherwise would have. Examples include, but are not limited to, trades on June 28, 2016, March

27, 2017, and February 11, 2016.

       278.    Plaintiff Dale Cary traded multiple VIX Options on dates during the Class Period

at times when prices were artificial in a way that caused him harm—that is, he bought for more

or sold for less (or both) than he otherwise would have. Examples include, but are not limited to,

trades on July 17, 2013.

       279.    Plaintiff Victor Choa traded multiple VIX Futures on dates during the Class

Period at times when prices were artificial in a way that caused him harm—that is, he bought for

more or sold for less (or both) than he otherwise would have. Examples include, but are not

limited to, trades on September 3, 2015; September 15, 2015; September 23, 2015; November 9,

2016; November 28, 2016; December 1, 2016; December 28, 2016; December 29, 2016; April

17, 2017; April 18, 2017; July 10, 2017; August 10, 2017; August 14, 2017; August 15, 2017;

August 17, 2017; September 26, 2017; and November 27, 2017. Mr. Choa also traded multiple

SPX Options on dates during the Class Period at times when prices were artificial in a way that

caused him harm—that is, he bought for more or sold for less (or both) than he otherwise would




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have. Examples include, but are not limited to, trades on April 27, 2015; June 2, 2015; August 6,

2015; October 1, 2015; November 6, 2015; January 4, 2016; March 4, 2016; May 6, 2016; July

13, 2016; September 7, 2016; and hundreds of other trades on numerous other dates. Mr. Choa

also traded multiple VIX Options on dates during the Class Period at times when prices were

artificial in a way that caused him harm—that is, he bought for more or sold for less (or both)

than he otherwise would have. Examples include, but are not limited to, trades on October 20,

2015 and November 13, 2015.

       280.    Plaintiff FTC Capital traded multiple VIX Futures on dates during the Class

Period at times where prices were artificial in a way that caused it harm—that is, it bought for

more or sold for less (or both) than it otherwise would have. Examples include, but are not

limited to, trades on March 23, 2012; April 19, 2012; April 20, 2012; April 23, 2012; April 27,

2012; May 1, 2012; May 3, 2012; May 4, 2012; May 7, 2012; May 8, 2012; May 9, 2012; May

10, 2012; May 14, 2012; May 18, 2012; June 5, 2012; June 13, 2012; June 15, 2012; and

thousands of other trades on numerous other dates.

       281.    Plaintiff Amy Huang traded multiple put and call VIX Options on dates during

the Class Period at times when prices were artificial in a way that caused her harm—that is, she

bought for more or sold for less (or both) than she otherwise would have. Examples include, but

are not limited to, trades on September 11, 2013; October 4, 2013; November 19, 2013;

December 17, 2013; January 21, 2014; February 11, 2014; February 13, 2014; March 4, 2014;

May 29, 2014; August 19, 2014; September 19, 2014; October 3, 2014; October 16, 2014;

October 28, 2014; October 29, 2014; November 7, 2014; and hundreds of other trades on

numerous other dates.




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       282.    Plaintiff LRI Invest traded multiple VIX Futures on dates during the Class Period

at times when prices were artificial in a way that caused it harm—that is, it bought for more or

sold for less (or both) than it otherwise would have. Examples include, but are not limited to,

trades on March 23, 2012; May 15, 2012; December 17, 2012; February 6, 2013; July 30, 2013;

September 30, 2013; July 10, 2014; August 22, 2014; March 6, 2015; August 24, 2015; and

hundreds of other trades on numerous other dates. LRI Invest also traded multiple VIX Options

on dates during the Class Period at times when prices were artificial in a way that caused it

harm—that is, it bought for more or sold for less than it otherwise would have. Examples

include, but are not limited to, trades on August 29, 2012; January 11, 2013; March 8, 2013;

April 8, 2013; February 20, 2014; December 17, 2014; January 27, 2015; April 8, 2015; May 6,

2015; July 18, 2016; and thousands of other trades on numerous other dates.

       283.    Plaintiff John Pels traded multiple VIX Futures on dates during the Class Period

at times when prices were artificial in a way that caused him harm—that is, he bought for more

or sold for less (or both) than he otherwise would have. Examples include, but are not limited to,

trades on January 8, 2016; April 11, 2017; and December 6, 2017. Mr. Pels also traded multiple

VIX Options on dates during the Class Period at times when prices were artificial in a way that

caused him harm, that is, he bought for more and/or sold for less than he otherwise would have.

Examples include, but are not limited to, trades on February 19, 2016; November 3, 2016; May

26, 2017; and June 29, 2017.

               4.      Plaintiffs were harmed from the lasting impact even on a “net” basis

       284.    Because of the measured decaying impact, it is highly unlikely that the harm

observed in the named Plaintiffs’ transactions was matched up evenly against an earlier benefit

as to “net out,” as is sometimes argued to be the case in the simpler context of a stock purchaser

who bought after a misrepresentation but sold before the truth was revealed. Further, it is a


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relatively simple exercise for stockholders to compare the dates of purchase, sale,

misrepresentation, and disclosure. By contrast, establishing “net” harm here is much more

complex, and much more reliant on information known only to CBOE and the Doe Defendants.

       285.    Despite this, Plaintiffs have also attempted to confirm that named Plaintiffs

entered into transactions where the fraudulent and manipulative acts caused more harm than they

(for purposes of argument only) caused a benefit. Applying the artificiality ribbon to even a

sample of Plaintiffs’ transactions confirms those Plaintiffs were harmed even presuming the

“losses” associated with the level of artificiality at one point in time on a transaction should be

“netted” as against the “gains” associated with the level of artificiality at another point in time.

A few examples are below.

       286.    On September 27, 2016, Richard S. Aaron entered into 135 purchase contracts for

put VIX Options expiring in October 2016, with a strike price of 14. On October 26, 2016, Mr.

Aaron entered into 120 sales contracts for call VIX Options expiring in November 2016, with a

strike price of 18. By way of a final example, on December 19, 2016, Mr. Aaron entered into 50

purchases contracts for put VIX Options expiring in December 2016, with a strike price of 13.

Comparing these transactions to the artificiality “ribbon” indicates that Mr. Aaron was harmed,

even if one were to apply a “net” analysis to these transactions.

       287.    Between March 27, 2017, and March 31, 2017, Spencer Bueno entered into

purchase and 10 sales contracts for put SPX Options expiring in June 2017, with a strike price of

2000. Comparing both sides of these transactions to the artificiality “ribbon” indicates that Mr.

Bueno was harmed even if one were to apply a “net” analysis to these transactions.

       288.    Between July 17, 2013, and August 6, 2013, Dale Cary entered into 500 purchase

and 500 sales contracts for call VIX Options expiring in September 2013. Comparing both sides




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of these transactions to the artificiality “ribbon” indicates that Mr. Cary was harmed even if one

were to apply a “net” analysis to these transactions.

       289.    On July 10, 2017, Victor Choa entered into 2 sales contracts for VIX Futures

expiring in July 2017. On July 7, 2015, Mr. Choa entered into a sales contract for an SPX

Option expiring in July 2015. And on June 18, 2015, Mr. Choa entered into 2 purchase contracts

for SPX Options expiring in June 2015. Comparing both sides of these transactions to the

artificiality “ribbon” indicates that Mr. Choa was harmed even if one were to apply a “net”

analysis to these transactions.

       290.    Between February 14, 2014, and March 14, 2014, FTC Capital entered into 503

purchase and 503 sales contracts for VIX Futures expiring in March 2014. Comparing both sides

of these transactions to the artificiality “ribbon” indicates that FTC Capital was harmed even if

one were to apply a “net” analysis to these transactions.

       291.    Between December 12, 2014, and January 2, 2015, Amy Huang entered into 205

purchase and 205 sales contracts for call VIX Options expiring in January 2015, with a strike

price of 22. Between June 13, 2017, and July 14, 2017, Ms. Huang entered into 225 purchase

and 225 sales contracts for put VIX Options expiring in July 2017 with a strike price of 23. And

between April 11, 2017, and June 13, 2017, Ms. Huang entered into 225 purchase and 225 sales

contracts for put VIX Options expiring in June 2017 with a strike price of 11. Comparing both

sides of these transactions to the artificiality “ribbon” indicates that Ms. Huang was harmed even

if one were to apply a “net” analysis to these transactions.

       292.    Between March 9, 2015, and April 8, 2015, LRI Invest entered into purchase and

sales contracts for call VIX Options expiring in April 2015, with a strike price of 30. Between

May 18, 2017, and June 19, 2017, LRI Invest entered into purchase and sales contracts for call




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VIX Options expiring in August 2017 with a strike price of 40. Between July 6, 2016 and

August 17, 2016, LRI Invest entered into purchase and sales contracts for VIX Futures expiring

in August 2016. Comparing both sides of these transactions to the artificiality “ribbon” indicates

that LRI Invest was harmed even if one were to apply a “net” analysis to these transactions .

       293.    Between November 28, 2017 and December 6, 2017, John Pels entered into

purchase and sales contracts for VIX Futures expiring in December 2017. Between May 26,

2017 and June 29, 2017, Mr. Pels also entered into purchase and sales contracts for VIX Options

expiring in July 2017 with a strike price of 12. Comparing both sides of these transactions to the

artificiality “ribbon” indicates that Mr. Pels was harmed even if one were to apply a “net”

analysis to these transactions.

VI.    DEFENDANTS AFFIRMATIVELY CONCEALED THEIR INHERENTLY SELF-
       CONCEALING MANIPULATION

       294.    Manipulation of the VIX and the VIX-related products at issue was material to

Plaintiffs and Class members at all relevant times.

       295.    Within the time period of any applicable statutes of limitations, Plaintiffs and

Class members could not have discovered through the exercise of reasonable diligence that

Defendants were manipulating the VIX, the SOQ, or VIX products. Until recently, as a result of

Defendants’ misconduct and acts of concealment, Plaintiffs and Class members did not discover

and did not know of any facts that would have caused a reasonable person to suspect that

Defendants were manipulating the VIX or VIX-linked instruments. Plaintiffs had no prior

knowledge of their claims, or of facts or information that would have caused a reasonably

diligent person to investigate them.

       296.    Throughout the Class Period, Defendants engaged in conduct that was inherently

self-concealing to those who, unlike CBOE, did not have full access to the data. The Doe



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Defendants engaged in manipulative activities that were carried out at least in part, through

means and methods specifically designed to avoid public detection and which, until very

recently, successfully eluded public detection. The very nature and structure of the SOQ process

made it impossible for Plaintiffs to discover facts comprising their claims until recently. For

instance, trading of VIX Options, SPX Options, and of VIX Futures is anonymous. The Doe

Defendants planned and executed their conduct in private, shielded from public view.

       297.    Defendants also knowingly, actively, and affirmatively concealed the facts

alleged herein, including their manipulation of the VIX or VIX-linked instruments. Plaintiffs

and Class members reasonably relied on Defendants’ knowing, active, and affirmative

concealment.

       298.    For instance, CBOE took affirmative steps to conceal its misconduct and, by

extension, those of the Doe Defendants. CBOE affirmatively misrepresented or failed to

disclose that manipulation had occurred to any meaningful degree, much less to the systemic

degree that Plaintiffs’ investigation has uncovered. Through its conduct, CBOE actively misled

Plaintiffs as to the true nature of VIX Options and VIX Futures, as well as the SOQ process.

CBOE’s conduct was undertaken with the purpose and effect of masking the previously-hidden

manipulation described above.

       299.    On June 19, 2017, for example, CBOE’s chief regulatory officer Greg Hoogasian

assured the public that the CBOE “has a dedicated regulatory department that works with FINRA

to monitor certain trading activity for our securities markets, including trading activity that could




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impact the VIX settlement.”95 With regard to the integrity of the VIX itself, CBOE officials said

the VIX is a “transparent, closely regulated, and highly reliable gauge of market sentiment with

no history of failure.”96 In further response to the Griffin and Shams paper, on February 13,

2018, CBOE “vehemently denied the paper’s conclusions,” saying that the authors “didn’t

consider the full range of possible reasons other than manipulation that could explain the moves

they observed.”97

       300.    CBOE similarly issued public denials of the whistleblower letter sent to the SEC

and CFTC. CBOE Vice President Speth said that the whistleblower’s letter contains “a lot of

mistakes and a lot of misconceptions” and reinforced the integrity of the entire VIX settlement

process: “There are structural safeguards built into the process of the calculation of the VIX

settlement value that would hinder the type of manipulation the letter alleges. Our regulatory

group actively surveils for potential VIX settlement manipulation.”98

       301.    Plaintiffs have exercised due diligence in uncovering their claims. This includes

but is not limited to trying to identify the specific traders behind the manipulation by, through

counsel, seeking discovery from CBOE. With respect to the identity of the Doe Defendants,

however, to date their efforts have been unsuccessful.




       95
             Elliot Blair Smith, How S&P 500 options may be used to manipulate VIX ‘fear
gauge’, MarketWatch (June 19, 2017), https://www.marketwatch.com/story/how-sp-500-
options-may-be-used-to-manipulate-vix-fear-gauge-2017-06-19.
         96
             Id. (emphasis added).
         97
             Nick Baker & Cecile Vannucci, What If Somebody Really Is Gaming the VIX?,
Bloomberg (Feb. 13, 2018), https://www.bloomberg.com/news/articles/2018-02-14/billions-in-
vix-rigging-profits-a-battered-index-takes-new-hit.
         98
             Saqib Iqbal Ahmed & John McCrank, Whistleblower alleges manipulation of Cboe
volatility index, Reuters (Feb. 13, 2018), https://uk.reuters.com/article/us-usa-stocks-volatility-
manipulation/whistleblower-alleges-manipulation-of-cboe-volatility-index-idUKKBN1FX0ES.



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        302.     For these reasons, all applicable statutes of limitation have been tolled based on

the discovery rule, the doctrine of equitable tolling, and/or Defendants’ fraudulent concealment.

Defendants are also estopped from relying on any statutes of limitations in defense of this

action.99

                                 CLASS ACTION ALLEGATIONS

        303.     Plaintiffs bring this action on behalf of themselves and as a Class action under

Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure, seeking monetary damages on

behalf of the following class (the “Class”):

        All persons or entities who held VIX Options or VIX Futures to expiry, or traded SPX
        Options, VIX Options, VIX Futures, or VIX ETPs, during the following time periods:

                From March 26, 2004 to the present in the case of VIX Futures, SPX Options, and
                 VIX ETPs; and
                From February 24, 2006 to the present in the case of VIX Options (together, the
                 “Class Period”).100

        304.     Plaintiffs believe there are thousands of members of the Class as described above,

the exact number and their identities being known by CBOE, making Class members so

numerous and geographically dispersed that joinder of all members is impracticable.

        305.     There are numerous questions of law and fact common to each Class member,

including, but not limited to:




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            Further, the foregoing allegations constitute a continuing violation of the antitrust
laws, including misconduct and recurring injuries within the limitations period. Accordingly,
Plaintiffs and the proposed Class can recover for damages suffered throughout the limitations
period, even absent a finding of equitable tolling or fraudulent concealment.
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             Excluded from the Class are Defendants and their employees, affiliates, parents,
subsidiaries, whether or not named in this Complaint, and the United States government.



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            a.    whether the SOQ settlement process for VIX Options and VIX Futures

                  was flawed in a way that made it susceptible to manipulation and market

                  monopolization;

            b.    whether CBOE knew or recklessly disregarded that the settlement process

                  for VIX Options and VIX Futures was flawed in a way that made it

                  susceptible to manipulation;

            c.    whether the SOQ process was in fact manipulated and subject to market

                  monopolization by the Doe Defendants, in violation of the Exchange Act,

                  the CEA, and the Sherman Act;

            d.    whether CBOE knew or recklessly disregarded that the SOQ settlement

                  process was manipulated;

            e.    whether manipulation and market monopolization of the SOQ process had

                  an impact upon the prices of SPX Options and VIX Options and VIX

                  Futures, and upon the cash settlement value of VIX Options and VIX

                  Futures;

            f.    whether manipulation and market monopolization of the SOQ process had

                  an impact on the value or prices of shares or notes in VIX ETPs;

            g.    the identity of the Doe Defendants;

            h.    the duration of the manipulation and market monopolization;

            i.    the nature and character of the acts performed in furtherance of the

                  manipulation and market monopolization;




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                j.      whether the conduct of Defendants, as alleged in this Complaint, caused

                        damages to Plaintiffs and other members of the Class and the amount and

                        extent of those damages; and

                k.      the appropriate measure of damages sustained by Plaintiffs and other

                        members of the Class.

        306.    Plaintiffs are members of the Class, have claims that are typical of the claims of

the Class members, have interests coincident with and not antagonistic to those of the other

members of the Class, and will fairly and adequately protect the interests of the members of the

Class. In addition, Plaintiffs are represented by counsel who are competent and experienced in

the prosecution of securities, antitrust, and class action litigation.

        307.    The prosecution of separate actions by individual members of the Class would

create a risk of inconsistent or varying adjudications.

        308.    The questions of law and fact common to the members of the Class predominate

over any questions affecting only individual members, including legal and factual issues relating

to liability and damages.

        309.    A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. Treatment as a class action will permit a large number of

similarly situated persons to adjudicate their common claims in a single forum simultaneously,

efficiently and without the duplication of effort and expense that numerous individual actions

would engender. The Class is readily definable and is one for which records should exist in the

files of CBOE or others, and a class action will eliminate the possibility of repetitious litigation.

        310.    Class treatment will also permit the adjudication of relatively small claims by

many members of the Class who otherwise could not afford to litigate claims such as those




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asserted in this Complaint. This class action presents no difficulties of management that would

preclude its maintenance as a class action.

                                     CAUSES OF ACTION

                                          CLAIM ONE

                        VIOLATION OF 15 U.S.C. § 78a, et seq.
                  MANIPULATION IN VIOLATION OF RULE 10(B) OF
                   THE SECURITIES EXCHANGE ACT OF 1934 AND
                     RULE 10B-5 PROMULGATED THEREUNDER
              (AGAINST CBOE, EXCEPT CBOE FUTURES EXCHANGE, LLC)

       311.     Plaintiffs incorporate each preceding and succeeding paragraph as though fully set

forth herein.

       312.     This Claim is brought with respect to SPX Options and VIX Options.

       313.     By its misconduct, CBOE violated § 10(b) of the Exchange Act and Rule 10b-5(a)

& (c) promulgated thereunder.

       314.     CBOE employed devices, schemes, or artifices to defraud, and engaged in acts,

practices, and a course of business which operated as a fraud and deceit upon the Class, in

violation of Section 10(b) of the Exchange Act and Rule 10b-5(a) & (c) promulgated thereunder.

CBOE has undertaken a number of manipulative acts in furtherance of a fraudulent scheme. In

so doing, CBOE acted with scienter. CBOE knew or recklessly disregarded that its proprietary

products were vulnerable to manipulation—and were in fact being manipulated. CBOE

nevertheless created, market, and sold its proprietary products to investors. Investors were

deceived into believing that prices at which they purchased and sold CBOE’s proprietary

securities were determined by the natural interplay of supply and demand, not rigged by

manipulators.

       315.     The VIX and VIX-related products at issue were central to CBOE’s profit-seeking

enterprise. But CBOE knew or recklessly disregarded that these products were flawed, and those


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flaws were being exploited in a way that CBOE allowed or disregarded as it sought commercial

gain and to maintain its dominance in the market for volatility derivatives.

       316.    In creating, designing, and marketing a slew of proprietary products that had

flaws known only to it and the Doe Defendants, CBOE went far beyond its role as an exchange

platform. CBOE’s creation of these products—and its successful attempt, through its contracts

with S&P, to make its VIX-related products proprietary to CBOE and unique in the

marketplace—was undertaken solely to maximize its profits. Likewise, CBOE created and

promoted the products that were used to manipulate the market in order to increase trading

volume on CBOE’s exchange and increase company profit. Thus, CBOE embarked deliberately

in commercial conduct by acting as a for-profit enterprise.

       317.    By way of further example, CBOE’s grant of special powers and even cash

payment and trading fee discount rewards to certain traders during the VIX SOQ process was

also not a regulatory function, but instead was commercial in nature, designed to increase

CBOE’s profits by generating increased trading volumes (and thus increased trading fees) for

products CBOE knew or should have known were flawed.

       318.    CBOE’s fraudulent scheme caused damage to Plaintiffs and the Class, who lost

money trading SPX Options and trading and cash-settling VIX Options in reliance on the

integrity of the markets for those securities and the belief the products were not manipulated. As

a direct and proximate result of CBOE’s deceptive and manipulative conduct, Plaintiffs and

Class members have suffered damages in connection with their transactions.

       319.    CBOE’s acts and the damage caused by them were done in connection with the

purchase or sale of securities. VIX Options and SPX Options are securities that were central to




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CBOE’s manipulative scheme. These acts and the damage caused by CBOE were also furthered

by CBOE’s use of the mails or any facility of a national securities exchange.

                                             CLAIM TWO

                     VIOLATION OF 7 U.S.C. § 1, et seq.
      FAILURE TO ENFORCE RULES AND PREVENT PRICE MANIPULATION
            IN VIOLATION OF THE COMMODITY EXCHANGE ACT
                            (AGAINST CBOE)

        320.    Plaintiffs incorporate each preceding and succeeding paragraph as though fully set

forth herein.

        321.    This Claim is brought with respect to VIX Futures.

        322.    By failing to enforce bylaws, rules, regulations, and resolutions despite its status

as a registered entity, CBOE violated the CEA, specifically 7 U.S.C. §§ 7 and 25(b), hence

allowing prices of VIX Futures to be artificial during the Class Period. Plaintiffs suffered injury

as a result of transacting at these artificial prices.

        323.    CBOE, as a registered entity under the CEA (7 U.S.C. § 1a), engaged in actions

and omissions that constitute a failure to enforce the mandatory rules that it was required to

follow under the CEA, in violation of 7 U.S.C. §§ 7 and 25(b).

        324.    CBOE was on notice that many such rules were violated. Among other things,

CBOE knew or recklessly disregarded, throughout the Class Period, that the VIX settlement

value was actively manipulated. CBOE’s refusal to address the manipulation taking place in the

relevant markets corroborates CBOE’s intent to design, list, and promote manipulated products,

and constitutes a failure to enforce bylaws, rules, regulations, and resolutions.

        325.    CBOE’s failure to do so was in bad faith. CBOE earned millions in profits from

the manipulative scheme, including from transaction fees on manipulative trades, and for that




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reason turned a blind eye to the manipulative activities of the Doe Defendants throughout the

Class Period.

       326.     CBOE’s failure to enforce such rules was conducted with knowledge or with

reckless disregard of the violations, thus depriving Plaintiffs and the Class of a lawfully

operating market during the Class Period.

       327.     Plaintiffs and the Class transacted at artificial and unlawful prices resulting from

CBOE’s failure to enforce the rules in violation of the CEA, 7 U.S.C. § 1, et seq., and as a direct

result were injured and suffered actual damages.

                                        CLAIM THREE101

                                  ORDINARY NEGLIGENCE
                                     (AGAINST CBOE)

       328.     Plaintiffs incorporate each preceding and succeeding paragraph as though fully set

forth herein.

       329.     This Claim is brought with respect to VIX Futures, VIX Options, and SPX

Options.

       330.     CBOE owed Plaintiffs and the Class a duty of reasonable care with respect to the

design and testing of the VIX calculation process, the SOQ settlement process, VIX Futures,

VIX Options, and SPX Options. VIX, VIX Futures, VIX Options, and SPX Options are

proprietary commercial products that CBOE created for profit and with the expectation that

Plaintiffs and the Class would purchase VIX Futures, VIX Options, and SPX Options.




       101
            This complaint includes “Claim Three” for negligence against CBOE,
notwithstanding the Court’s dismissal of that claim with prejudice, Dkt. 245 at 30-32, for clarity
and reference, including in respect of any potential appeal of that dismissal.



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       331.       CBOE also owed Plaintiffs and the Class a duty of reasonable care with respect to

the promotion of the VIX, VIX Futures, VIX Options, and SPX Options. CBOE has promoted

the VIX, VIX Futures, VIX Options, and SPX Options as fundamentally sound and appropriate

investment vehicles. It did so to induce Plaintiffs and the Class to purchase VIX Futures, VIX

Options, and SPX Options.

       332.       CBOE negligently performed these duties. It failed to use reasonable care in its

designing and testing to ensure that VIX Futures, VIX Options, and SPX Options were not

susceptible to manipulation. It also failed to use reasonable care in its promotional activities to

ensure that investors were apprised of the risk of manipulation of VIX Futures, VIX Options, and

SPX Options.

       333.       Plaintiffs and the Class suffered damages as a result of CBOE’s breach of its

duties of care.

                                           CLAIM FOUR

                           VIOLATION OF 15 U.S.C. § 78a, et seq.
                     MANIPULATION IN VIOLATION OF RULE 10(B) OF
                      THE SECURITIES EXCHANGE ACT OF 1934 AND
                       RULE 10B-5 PROMULGATED THEREUNDER
                             (AGAINST DOE DEFENDANTS)

       334.       Plaintiffs incorporate each preceding and succeeding paragraph as though fully set

forth herein.

       335.       This Claim is brought with respect to SPX Options, VIX Options, and VIX ETPs.

       336.       By their misconduct, the Doe Defendants violated §10(b) of the Exchange Act

and Rule 10b-5 promulgated thereunder.

       337.       The Doe Defendants employed devices, schemes, and artifices to defraud, and

engaged in acts, practices, and a course of business which operated as a fraud and deceit upon




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the Class, in violation of Section 10(b) of the Exchange Act and Rule 10b-5 promulgated

thereunder.

       338.    The Doe Defendants have undertaken a number of manipulative acts in

furtherance of a fraudulent scheme. The Doe Defendants have, for example, banged the close,

manipulated the two-zero bid rule, and submitted false bids and offers throughout the Class

Period. These actions systematically manipulated SPX Options prices, VIX Options prices and

settlements, and VIX ETP values throughout the Class Period.

       339.    The manipulative acts of the Doe Defendants caused damage to the Plaintiffs and

the Class. Specifically, the Doe Defendants manipulated settlement values so that they could

gain large cash windfalls, or avoid large cash expenses, or both. These illicit gains were made at

the expense of the Class. As a direct and proximate result of the Doe Defendants’ wrongful

conduct the Class has suffered damages in connection with the settlement of VIX Options.

Similarly, the manipulative acts of the Doe Defendants had a direct impact upon prices for SPX

Options and VIX Options, and the value of shares and notes in VIX ETPs, again at the direct and

proximate expense of the Class.

       340.    Throughout the Class Period, Plaintiffs and the Class relied on an assumption of

an efficient market free of manipulation. Investors believed they were trading in competitive

markets where prices driven by supply and demand. The Doe Defendants employed devices,

schemes, and artifices to defraud while in possession of material, adverse, non-public

information, specifically, they improperly manipulated the VIX settlement value, and the prices

of VIX Options, the prices of SPX Options, and the prices of notes and shares in VIX ETPs, as

detailed in this Complaint.




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          341.   The Doe Defendants, individually and in concert, directly and indirectly, by the

use, means or instrumentalities of interstate commerce and/or of the mails, engaged and

participated in a continuous course of conduct to conceal their manipulation.

                                           CLAIM FIVE

                             VIOLATION OF 7 U.S.C. § 1, et seq.
                             MANIPULATION IN VIOLATION
                          OF THE COMMODITY EXCHANGE ACT
                              (AGAINST DOE DEFENDANTS)

          342.   Plaintiffs incorporate each preceding and succeeding paragraph as though fully set

forth herein.

          343.   This Claim is brought with respect to VIX Futures.

          344.   By their intentional misconduct, the Doe Defendants violated the CEA,

specifically 7 U.S.C. §§ 6b(a), 6c(a), 9(3), 13(a)(2), 25(a), and CFTC rules adopted under the

CEA (17 C.F.R. § 180.2), and caused prices of VIX Futures to be artificial during the Class

Period.

          345.   The Doe Defendants’ trading and other activities alleged herein constitute market

manipulation of prices of VIX Futures, in violation of 7 U.S.C. §§ 6b(a), 6c(a), 9(3), 13(a)(2),

25(a), and 17 C.F.R. § 180.2.

          346.   The Doe Defendants had the motive and the opportunity to manipulate the VIX

settlement process.

          347.   The Doe Defendants also possessed an ability to influence market prices through

the manipulative schemes described above. Specifically, the Doe Defendants banged the close

on VIX settlement days, manipulated the two-zero bid rule to ensure certain strikes would be

used in the settlement computation, and submitted false bids and offers to manipulate the VIX

settlement price.



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       348.     The Doe Defendants caused the artificial prices through their manipulative

activities. They did so manipulating the prices of the SPX Options that CBOE used in its VIX

settlement calculation, and by influencing the levels of bids and asks associated with each of

those SPX Options.

       349.     The Doe Defendants specifically intended to cause the artificial VIX Futures

prices. The Doe Defendants knew they would experience large cash windfalls or prevent large

cash payouts if they were successfully able to shift the settlement value. This provided ample

motivation for the Doe Defendants to purposefully shift the settlement value artificially upwards

or downwards. The Doe Defendants also had the opportunity to do so because they executed

their SPX Option trades in the narrow time window of the SOQ auction, which had a large

influence on the ultimate VIX price.

       350.     The Doe Defendants’ manipulation deprived the Class of a lawfully operating

market during the Class Period.

       351.     Plaintiffs and the Class transacted at artificial and unlawful prices resulting from

the Doe Defendants’ manipulations in violation of the CEA, 7 U.S.C. § 1, et seq., and Rule

180.2, and as a direct result thereof were injured and suffered damages. Plaintiffs and the Class

sustained and are entitled to actual damages for the violations of the CEA alleged therein.

                                            CLAIM SIX

                   VIOLATION OF 7 U.S.C. § 1, et seq.
        EMPLOYMENT OF MANIPULATIVE OR DECEPTIVE DEVICE
   OR CONTRIVANCE IN VIOLATION OF THE COMMODITY EXCHANGE ACT
                    (AGAINST DOE DEFENDANTS)

       352.     Plaintiffs incorporate each preceding and succeeding paragraph as though fully set

forth herein.

       353.     This Claim is brought with respect to VIX Futures.



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       354.     By their intentional misconduct, from August 15, 2011 to present, the Doe

Defendants each violated the CEA, specifically 7 U.S.C. §§ 9(1), 13(a), and CFTC rules adopted

under the CEA (17 C.F.R. § 180.1), and caused prices of VIX Futures to be artificial during the

Class Period.

       355.     The Doe Defendants’ trading and other activities alleged herein constitute market

manipulation of prices of VIX Futures, in violation of the CEA, 7 U.S.C. §§ 9(1), 13(a), 25(a),

and 17 C.F.R. § 180.1.

       356.     The Doe Defendants have delivered or transmitted numerous false, misleading, or

inaccurate reports relating to their activities in the markets for VIX Futures. Specifically, the

Doe Defendants have submitted false bids and offers into the SOQ process with the intent of

sending false market information to buyers and sellers of VIX Futures. They have done so on

every occasion where they have manipulated the VIX settlement value to benefit their financial

positions.

       357.     The Doe Defendants had knowledge of the impact these false reports would have

on the marketplace. In fact, the Doe Defendants intended to mislead the market in this manner to

benefit their financial positions. There would be no reason to undertake the manipulative

scheme described herein if there would be no impact on the relevant markets.

       358.     There is also no legitimate justification for the false reports. The only reason to

manipulate the SOQ process, and thus the VIX settlement value, was to introduce artificiality

into, e.g., the prices for VIX Futures.

       359.     The Doe Defendants’ manipulation deprived the Class of a lawfully operating

market during the Class Period.




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       360.     Plaintiffs and the Class transacted at artificial and unlawful prices resulting from

the Doe Defendants’ manipulations in violation of the CEA, 7 U.S.C. § 1, et seq., and Rule

180.1, and as a direct result thereof were injured and suffered damages. Plaintiffs and the Class

also suffered damages under 17 C.F.R. 180.1(a)(1).

                                          CLAIM SEVEN

                         VIOLATION OF 7 U.S.C. § 1, et seq.
                          PRINCIPAL-AGENT LIABILITY
                IN VIOLATION OF THE COMMODITY EXCHANGE ACT
                          (AGAINST ALL DEFENDANTS)

       361.     Plaintiffs incorporate each preceding and succeeding paragraph as though fully set

forth herein.

       362.     This Claim is brought with respect to VIX Futures.

       363.     Each Defendant is liable under the CEA (7 U.S.C. § 2(a)(1)(B)), for the

manipulative acts of their agents or representatives (including both corporate and natural

persons) as well as any persons acting for them in the scope of their employment.

       364.     Plaintiffs and the Class were harmed as a result of trading at manipulated prices

and are entitled to actual damages for the violations of the CEA alleged herein.

                                          CLAIM EIGHT

                     VIOLATION OF 7 U.S.C. § 1, et seq.
                    AIDING AND ABETTING LIABILITY
            IN VIOLATION OF THE COMMODITY EXCHANGE ACT
    (AGAINST ALL DEFENDANTS, EXCEPT CBOE FUTURES EXCHANGE, LLC)

       365.     Plaintiffs incorporate each preceding and succeeding paragraph as though fully set

forth herein.

       366.     This Claim is brought with respect to VIX Futures.




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       367.     Defendants knowingly aided, abetted, counseled, induced, and/or procured the

violations of the CEA alleged herein. Defendants did so knowing of each other’s manipulation

of VIX Futures, and willfully intended to assist these manipulations, which resulted in the prices

of VIX Futures becoming artificial during the Class Period in violation of the CEA (7 U.S.C.

§§ 13c(a) and 25(a)(1)). CBOE knew of the manipulation alleged herein—manipulation that, in

substantial part, it engineered, oversaw, and furthered through its acts and omissions—and

intended to further that manipulation for the sake of its profits and the success of its VIX

franchise.

       368.     Plaintiffs and the Class were harmed as a result of trading at manipulated prices

and are entitled to actual damages for the violations of the CEA alleged herein.

                                          CLAIM NINE

                 VIOLATION OF §1 OF THE SHERMAN ACT, 15 U.S.C § 1
                          (AGAINST DOE DEFENDANTS)

       369.     Plaintiffs incorporate each preceding and succeeding paragraph as though fully set

forth herein.

       370.     This claim is brought with respect to VIX Options, VIX Futures, SPX Options,

and VIX ETPs.

       371.     The Doe Defendants combined, conspired, and agreed to manipulate the prices of

VIX Options, VIX Futures, SPX Options, and VIX ETPs. This combination, conspiracy, and/or

agreement unreasonably restrained trade in violation of the federal antitrust laws.

       372.     Specifically, the anticompetitive combination, conspiracy, and/or agreement

alleged herein is a per se violation of Section 1 of the Sherman Act, 15 U.S.C. § 1 (“Section 1”).

Alternatively, the anticompetitive combination, conspiracy, and/or agreement alleged herein




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resulted in substantial anticompetitive effects in the market for VIX Options, VIX Futures, SPX

Options, and VIX ETPs in the United States in violation of Section 1.

       373.    The Doe Defendants intended to restrain trade and actually restrained trade in

violation of Section 1. These Defendants shared a conscious commitment to the common

scheme designed to achieve the unlawful objective of manipulating the prices of VIX Options,

VIX Futures, SPX Options, and VIX ETPs.

       374.    The anticompetitive combination, conspiracy, and/or agreement alleged herein

unreasonably restrained trade, and there is no legitimate business justification for, or

procompetitive benefits of, the Doe Defendants’ unreasonable restraint of trade. Any alleged

procompetitive benefit or business justification is pretextual and/or could have been achieved

through less restrictive means.

       375.    The anticompetitive combination, conspiracy, and/or agreement alleged herein

occurred within the flow of and substantially affected interstate commerce.

       376.    As a direct and proximate result of these Defendants’ anticompetitive scheme and

concrete acts in furtherance of that scheme, Plaintiffs and members of the Class have been

injured in their business and property by reason of Defendants’ violation of Section 1, within the

meaning of Section 4 of the Clayton Antitrust Act, 15 U.S.C. § 15.

       377.    Plaintiffs’ and the Class’s injuries are of the type the antitrust laws were designed

to prevent and are a direct result of the Doe Defendants’ unlawful anticompetitive conduct.

       378.    Plaintiffs and the Class are entitled to treble damages for the violations of the

Sherman Act alleged herein.




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                                           CLAIM TEN

                VIOLATION OF § 2 OF THE SHERMAN ACT, 15 U.S.C. § 2
                          (AGAINST DOE DEFENDANTS)

       379.     Plaintiffs incorporate each preceding and succeeding paragraph as though fully set

forth herein.

       380.     This Claim is brought with respect to VIX Options, VIX Futures, SPX Options,

and VIX ETPs.

       381.     Each of the Doe Defendants traded and placed orders for SPX Options to

manipulate the SOQ settlement process for expiring VIX Options and VIX Futures so that they

could gain large cash windfalls, or avoid large cash expenses, or both.

       382.     The Doe Defendants’ trades and orders for SPX Options were at non-competitive

prices that purposely inflated or depressed prices for SPX Options, VIX Options, VIX Futures,

and VIX ETPs in a direction that benefited the Doe Defendants.

       383.     The Doe Defendants possessed monopoly power and willfully maintained that

power through their intent and ability to dictate the SOQ settlement prices.

       384.     The Doe Defendants used their monopoly power to dictate the SOQ settlement

prices, including to set those prices at artificial levels by trading SPX Options, in order to prevent

free markets from operating, and in order to move the prices for SPX Options, VIX Options,

VIX Futures, and VIX ETPs in a direction that benefited the Doe Defendants.

       385.     The Doe Defendants’ ability to control prices is demonstrated by the anomalous

patterns demonstrated in Plaintiffs’ experts’ economic analyses.

       386.     The Doe Defendants’ conduct has no legitimate business purpose or

procompetitive effect.




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       387.    Plaintiffs and the Class have suffered and will suffer economic injury of the type

that the antitrust law were intended to prevent.

       388.    Plaintiffs and the Class have been injured and will be injured by the harm to

competition as a result of the Doe Defendants’ conduct.

                                     PRAYER FOR RELIEF

       389.    WHEREFORE, Plaintiffs, on behalf of themselves and the proposed Class of

similarly situated persons and entities, respectfully request:

       a.      That the Court certify this lawsuit as a class action under Rules 23(a) and (b)(3) of

               the Federal Rules of Civil Procedure, that Plaintiffs be designated as class

               representatives, and that Plaintiffs’ counsel be appointed as Class counsel for the

               Class;

       b.      For a judgment awarding Plaintiffs and the Class damages, as well as punitive or

               exemplary damages, against Defendants for their violations of the Exchange Act,

               and the CEA, together with prejudgment interest at the maximum rate allowable

               by law;

       c.      For an award to Plaintiffs and the Class of their costs of suit, including reasonable

               attorneys’ and experts’ fees and expenses; and

       d.      For such other and further relief as the Court may deem just and proper.


                                         JURY DEMAND

       Pursuant to Federal Rule of Civil Procedure 38, Plaintiffs, on behalf of themselves and

the proposed Class, demand a trial by jury on all issues so triable.




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Dated: August 23, 2019                             Respectfully submitted,

By: /s/ Jonathan C. Bunge                         /s/ Kimberly A. Justice
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                                CERTIFICATE OF SERVICE

       I, Jonathan C. Bunge, hereby certify that on August 23, 2019, I electronically filed the

foregoing document using the CM/ECF system, and have verified that such filing was sent

electronically using the CM/ECF system to all parties who have appeared with an email address

of Record.

                                                          /s/ Jonathan C. Bunge
                                                          Co-Lead Counsel
